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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

  UNITED STATES OF AMERICA                                                                  Plaintiff

  v.                                                          Criminal Action No. 3:22-cr-84-RGJ

  BRETT HANKISON                                                                          Defendant

                                            * * * * *

                          MEMORANDUM OPINION AND ORDER

        Defendant Brett Hankison was charged with two counts of deprivation of rights under color

 of law. See 18 U.S.C. § 242. The Court conducted a jury trial October 15, 2024 through November

 1, 2024. [DE 251 at 13571]. After receiving a partial verdict instruction, the jury delivered a

 unanimous verdict of not guilty as to Count 2 of the Indictment and, after additional deliberations,

 the jury delivered a unanimous verdict of guilty as to Count 1 of the Indictment. [Id. at 13572].

 Having already moved for acquittal and leave to interview jurors on unrelated grounds, Hankison

 now moves for “reversal of his conviction as to Court 1, and a new trial regarding same in the

 interest of justice” under Federal Rule of Criminal Procedure (“Rule”) 33(a) and (b)(2) urging the

 Court to find prosecutorial misconduct throughout trial. [DE 254 at 13587]. While the allegations

 of prosecutorial misconduct are not specific to the elements of Count 1, Hankison does not allege

 any wrongdoing as to the verdict on Count 2. [Id. at 13587-91]. The United States responded [DE

 260] and Hankison replied [DE 265]. Both parties move for leave to exceed page limits [DE 259;

 DE 264], which the Court previously granted [DE 267; DE 268]. Hankison also moves for leave




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 to file supplemental authority [DE 269], to which the United States has not responded.1 For

 the reasons below, Defendant's motion for leave to file supplemental authority [DE

 269] is GRANTED and Defendant’s motion for new trial [DE 254] is DENIED.

     I.      STANDARD

          Rule 33 provides that “[u]pon the defendant’s motion, [a district] court may vacate any

 judgment and grant a new trial if the interest of justice so requires.” United States v. Munoz, 605

 F.3d 359, 373 (6th Cir. 2010) (quoting Rule 33(a)). Rule 33’s “interest of justice” standard allows

 the grant of a new trial where substantial legal error has occurred. United States v. Whittle, 223 F.

 Supp. 3d 671, 675 (W.D. Ky. 2016), aff’d, 713 F. App’x 457 (6th Cir. 2017) (citing Munoz, 605

 F.3d at 373); see also United States v. Hawkins, 2023 WL 3244567, at *12 (E.D. Ky. May 4, 2023),

 aff'd, No. 23-5479, 2024 WL 1956214 (6th Cir. May 3, 2024) (citing United States v. Duerson,

 2022 WL 5199724, at *1 (E.D. Ky. Oct. 5, 2022)). “[S]uch motions should be granted sparingly

 and with caution.” United States v. Turner, 995 F.2d 1357, 1364 (6th Cir. 1993); see also United

 States v. Hughes, 505 F.3d 578, 593 (6th Cir. 2007) (Rule 33 motions “are granted only in the

 extraordinary circumstance where the evidence preponderates heavily against the verdict.”

 (citation and quotation omitted)).

          The court may grant a new trial on one of two grounds: (1) newly discovered evidence

 under Rule 33(b)(1); or (2) a motion “grounded on any reason other than newly discovered




 1
  Hankison seeks to supplement a single case, United States v. Acosta, 924 F.3d 288, 302 (6th Cir. 2019).
 Hankison states supplement should be permitted because “[t]his case is pertinent and significant to the
 motion at issue because it is controlling.” [DE 269 at 13895]. Supplementation is typically permitted only
 where the case is new and decided after the parties brief has been filed. Here, Acosta was decided years
 ago, in 2019, and it is unclear why this case would not have already been cited to the Court in the course of
 brief. However, there is no reason not to permit supplementation as the Court has already considered this
 case in its independent research. Clemons v. United States, 2017 WL 1030725, at *4 (W.D. Tenn. Mar. 15,
 2017).


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 evidence” under Rule 33(b)(2). Fed. R. Cr. P. 33. The burden is on the defendant to justify a new

 trial. See United States v. Carson, 560 F.3d 566, 585 (6th Cir. 2009). If the motion seeks a new

 trial based on a challenge to the weight of the evidence, the Court may assess both the credibility

 of the witnesses and the weight of the evidence, acting as the “thirteenth juror.” United States v.

 Lutz, 154 F.3d 581, 589 (6th Cir. 1998). Here, Hankison’s motion lies under Rule 33(b)(2) for

 allegations of prosecutorial misconduct in both conduct and remarks. The motion does not appear

 to challenge the weight of the evidence for conviction, only the impropriety of the conduct and

 statements of the prosecutors.2

         The Court analyzes claims of prosecutorial misconduct in two steps. United States v.

 Carter, 236 F.3d 777, 783 (6th Cir. 2001) (applying the two-step approach and the 4 factors to

 prosecutorial “conduct and remarks”). The Court first considers “whether the prosecutor’s

 statements [or conduct] were improper.” United States v. Hall, 97 F.3d 1107, 1119 (6th Cir. 2020)

 (citing Carter, 236 F.3d at 783); Boyle v. Million, 201 F.3d 711, 717 (6th Cir. 2000); see also

 United States v. Singleton, 2018 WL 5075982, at *41 (E.D. Ky. Mar. 20, 2018), report and

 recommendation adopted, 2018 WL 8949240 (E.D. Ky. Oct. 17, 2018) (quoting Washington v.

 Hofbauer, 228 F.3d 689, 698-99 (6th Cir. 2000)) (“In the context of ‘conduct,’ rather than a

 ‘statement,’ Singleton must show that the ‘prosecutor’s conduct was plainly improper.’”). If so,

 the Court must “consider and weigh four factors in determining whether the impropriety was

 flagrant.” United States v. Warshak, 631 F.3d 266, 302 (6th Cir. 2010) (citing United States v.

 Carroll, 26 F.3d 1380, 1387 (6th Cir. 1994)); Hofbauer, 228 F.3d 699-700 (noting that the



 2
   Hankison’s motion, in its “Standard of Review” encourages the Court to act as a “thirteenth juror” in
 considering his motion. [DE 254 at 13591]. Yet, the motion does not seek a new trial based on a challenge
 to the weight of the evidence of conviction. The motion appears entirely focused on prosecutorial
 misconduct. As a result, the Court reviews the claims under the two-step prosecutorial misconduct analysis
 and only weighs the strength of the evidence to the extent necessary to determine flagrancy.

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 prejudice / flagrancy analysis for conduct mirrors that applicable to remarks). Specifically, the

 Court must consider “(1) whether the conduct and remarks of the prosecutor tended to mislead the

 jury or prejudiced the defendant; (2) whether the conduct or remarks were isolated or extensive;

 (3) whether the remarks were deliberately or accidentally made; and (4) whether the evidence

 against the defendant was strong.” Id. “Flagrancy turns on content and context.” Bedford v. Collins,

 567 F.3d 225, 233 (6th Cir. 2009).3

         The parties agree that Hankison’s counsel failed to object during trial to either the

 prosecutor’s remarks or the elicited testimony. [DE 254 at 13592; DE 260 at 13758]. As a result,

 this Court reviews Hankison’s prosecutorial misconduct claims for plain error.4 See United States

 v. Henry, 545 F.3d 367, 376–77 (6th Cir. 2008) (citing United States v. Emuegbunam, 268 F.3d

 377, 406 (6th Cir. 2001)); Fed. R. Crim. P. 52(b). Plain-error review requires the Court to

 determine whether




 3
   If the statements or conduct were improper but not flagrant, a new trial may still be warranted if “(1)
 ‘proof of [Defendant's] guilt was not overwhelming,’ (2) ‘[Defendant] objected to the improper remarks [or
 conduct],’ and (3) ‘the court failed to cure the error with an admonishment to the jury.’” Hall, 979 at 1119
 (citing Carroll, 26 F.3d at 1390). Here, because the Defendant did not object to the statements or conduct
 at issue in this motion [DE 254 at 13592; DE 260 at 13758], there can be no “nonflagrant” statements or
 conduct, but instead the Court analyzes the flagrant errors under a plain error standard. See infra.
 4
   “The plain-error doctrine of Federal Rule of Criminal Procedure 52(b) tempers the blow of a rigid
 application of the contemporaneous-objection requirement.” United States v. Young, 470 U.S. 1, 15 (1985).
 The Rule authorizes only the correction of “particularly egregious errors,” United States v. Frady, 456 U.S.
 152, 163 (1982), that “seriously affect the fairness, integrity or public reputation of judicial proceedings,”
 United States v. Atkinson, 297 U.S., at 160. As a result, the plain-error exception to the contemporaneous-
 objection rule is to be “used sparingly, solely in those circumstances in which a miscarriage of justice would
 otherwise result.” Frady, 456 U.S. at 163, n. 14. “Any unwarranted extension of this exacting definition of
 plain error would skew the Rule's ‘careful balancing of our need to encourage all trial participants to seek
 a fair and accurate trial the first time around against our insistence that obvious injustice be promptly
 redressed.’” Young, 470 U.S. at 16 (quoting Frady, 456 U.S. at 163 (footnote omitted)).

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        (1) an error occurred []; (2) the error was obvious or clear; (3) the error affected
        defendant’s substantial rights; and (4) this adverse impact seriously affected the
        fairness, integrity, or public reputation of the judicial proceedings.

 Emuegbunam, 268 F.3d at 406. “Error is defined as ‘[d]eviation from a legal rule . . . unless the

 rule has been waived,’ and waiver is defined as the ‘intentional relinquishment or abandonment of

 a known right.’” Carter, 236 F.3d at 783–84 (quoting United States v. Olano, 507 U.S. 725, 733

 (1993)). For a defendant to establish that the plain error affected his substantial rights “the error

 must have been prejudicial: It must have affected the outcome of the district court proceedings.”

 Olano, 507 U.S. 725, 734. As the Sixth Circuit has recognized, “prosecutorial misconduct may be

 so exceptionally flagrant that it constitutes plain error, and is grounds for reversal even if the

 defendant did not object to it.” Carroll, 26 F.3d at 1385 n. 6. But “[o]nly in exceptional

 circumstances” will a court reverse a conviction under the plain-error standard.” Id.; see also

 United States v. Pires, 642 F.3d 1, 14 (1st Cir. 2011) (quoting United States v. Mejia–Lozano, 829

 F.2d 268, 274 (1st Cir.1987)). (“We will intervene only if a statement ‘so poisoned the well that

 the trial’s outcome was likely affected.’”). When determining whether alleged prosecutorial errors

 “sink to the level of plain error, [the Court] evaluate[s] the statements within the context of the

 case as a whole.” Id. (citing United States v. Morales–Cartagena, 987 F.2d 849, 854 (1st

 Cir.1993)).

        In the alternative, Hankison argues a cumulative error theory. To warrant a new trial under

 the cumulative error theory “a defendant must show that the combined effect of individually

 harmless errors was so prejudicial as to render his trial fundamentally unfair.” United States v.

 Trujillo, 376 F.3d 593, 614 (6th Cir. 2004). Defendant is not entitled to relief under the cumulative

 error theory if he only identifies a single harmless error. Id. But, in determining whether the

 substantial rights of the defendant were affected, courts may aggregate all alleged errors, under the



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 cumulative effect doctrine, to determine if together any harmless errors are no longer harmless,

 making it necessary for a new trial to be granted. United States v. Bowen, 969 F. Supp. 2d 546,

 574 (E.D. La. 2013) (citing United States v. Barrett, 496 F.3d 1079, 1121 (10th Cir. 2007)). The

 “cumulative error analysis[, however,] only applies to errors, not non-errors.” United States v.

 Chaney, 211 F. Supp. 3d 960, 994 (E.D. Ky. 2016), aff'd, 921 F.3d 572 (6th Cir. 2019) (quoting

 United States v. Anderson, 488 F. App’x. 72, 80 (6th Cir. 2012)).

          “The decision to grant or deny a motion for a new trial is entirely within the discretion of

 the district court, and [the Sixth Circuit] will not reverse absent a showing of an abuse of

 discretion.” United States v. Anderson, 76 F.3d 685, 692 (6th Cir. 1996); see also United States

 v. Farrad, 895 F.3d 859, 885 (6th Cir. 2018); United States v. Callahan, 801 F.3d 606, 616 (6th

 Cir. 2015).

    II.        ANALYSIS

          Hankison’s motion asserts the United States made “a variety of improper arguments/

 comments over the course of trial, which amount to flagrant misconduct and necessitate a reversal

 of his conviction as to Count 1, and a new trial regarding same in the interest of justice.” [DE 254

 at 13587]. “In the alternative, Defendant seeks the same relief based on the cumulative effect of

 the improper remarks made throughout the course of the trial which amount to non-flagrant

 misconduct that necessitates a reversal of the conviction as to Count 1, and a new trial…” [Id. at

 13587-88].

          As an initial matter, the Court is frustrated by the nebulous and disjointed nature of the

 motion and corresponding briefs. The Court finds it difficult to parse the specific claims of

 misconduct from the motion. This appears to be a circumstance of throwing everything possible

 at the Court and seeing what sticks. In some instances, arguments appear asserted in the factual



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 background but not substantially revisited in the argument section [DE 254 at 13589-90], while in

 other instances the heading states one argument, while the substance under the heading states

 another [Id. at 13597-02]. In many instances, the motion simply lists block quotes from the

 prosecutor’s closing argument, with no explanation or analysis of why that particular excerpt is

 objectionable. [Id. at 13596-97]. On the first page of the reply brief, Hankison states: “The instant

 Motion sufficiently established prosecutors deprived Defendant of due process by: (1) (2); and

 (3),” as if imploring the Court to find some depravation of rights in the kitchen sink inclusive list

 of wrongs committed by the prosecution. [DE 265 at 13785]. As the United States Court of Appeals

 for the Seventh Circuit has infamously stated, “Judges are not like pigs, hunting for truffles buried

 in briefs.” United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991) (per curiam); see also

 Codrington v. Dolak, No. 24-5831, 2025 WL 1892818, at *8 (6th Cir. July 9, 2025) (noting its

 approval of this Seventh Circuit philosophy); Dean-Lis v. McHugh, 598 F. App’x 412, 415 (6th

 Cir. 2015) (also citing the Seventh Circuit quote with approval). “Mere allusion or reference is not

 enough; the issue must actually be raised with a minimum level of thoroughness.” Seifert v. Pa.

 Hum. Relations Comm’n, 301 F. App’x 194, 196-97 (3d Cir. 2008); see also United States v.

 Stewart, 628 F.3d 246, 256 (6th Cir. 2010) citing McPherson v. Kelsey, 125 F.3d 989, 995–96 (6th

 Cir.1997) (“Issues adverted to in a perfunctory manner, unaccompanied by some effort at

 developed argumentation, are deemed waived. It is not sufficient for a party to mention a possible

 argument in the most skeletal way, leaving the court to . . . put flesh on its bones.”). Here, several

 of the arguments are simply not raised with an appropriate level of thoroughness. Moreover, while

 it appears the United States attempted to keep headings and arguments consistent in its response,

 the disjointed nature of the motion has made this difficult to follow.




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         The Court finds that Hankison’s motion appears to assert six arguments that the testimony

 elicited by the United States during trial or the prosecutor’s statements in closing argument were

 improper. First, Hankison objects to the prosecutor’s conduct in eliciting testimony from several

 officer witnesses who, “without personal knowledge of the defendant’s shooting,” “opin[ed] about

 whether the defendant acted in accordance with LMPD policies and training.” [Id. at 13589].

 Hankison alleges that the prosecution agreed pretrial that (1) except for Myles Cosgrove, “lay

 witnesses without personal knowledge of the defendant’s shooting may not opine about whether

 the defendant acted in accordance with LMPD policies and training;” and (2) “No witness––lay or

 expert––may offer opinions regarding whether the defendant’s force met applicable legal

 standards, such as whether it was ‘reasonable’ under the Fourth Amendment or analogous

 conclusions such as whether the force was ‘lawful,’ ‘justified,’ or ‘appropriate.’” Id. Hankison

 alleges the prosecutor’s conduct improperly elicited testimony violating this agreement. This

 argument is primarily found in the “Statement of Fact” section and focuses on the Court’s

 instructions in the pretrial order.

         Second, as the first heading in the “Argument,” Hankison asserts that the prosecutor

 improperly commented or litigated in the closing argument whether “other officers involved

 should have shot or not.” [DE 13593-95]. This argument focuses on the Court’s instructions during

 trial as to issues that were not properly before the jury.

         Third, Hankison asserts that the prosecutor engaged in “improper vouching” during closing

 arguments. Fourth, Hankison argues that the prosecutor made “improper attacks of [sic] the

 defendant’s credibility not based on evidence or facts before the jury,” [DE 254 at 13597-02], yet

 most of the objections allege that the prosecutor’s statements were misleading. Fifth, Hankison

 argues that the prosecutor made improper appeals to the jury to act as the community conscience.



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        Finally, Hankison asserts that the prosecutor engaged in improper witness bolstering. [Id.

 at 13605-09]. Specifically, “[d]uring the prosecution’s proof, prosecutors elicited testimony from

 various witnesses regarding information they later discovered/corroborated, without expounding

 upon the basis of how that information was discovered/corroborated, and without ever introducing

 the underlying source of that information into evidence.” [DE 254 at 13590]. He alleges that

 “[t]his type of testimony was solicited from at least three government witnesses: Myles Cosgrove,

 Jason Vance, and Matt Russel.” [Id.].

        The United States disagrees and asserts that none of the testimony elicited, or statements

 made were objectionable, nor did defense counsel object to any of those statements or the

 prosecutor’s conduct during trial. [DE 260 at 13744]. Further, the United States argues that the

 prosecution “fairly characterized and properly drew inferences from the strong evidence of the

 defendant’s guilt.” [Id.]. And, the United States asserts, that “the defense––not the government–

 –made numerous improper remarks during its closing argument, such as appealing to jurors’

 personal sympathies, asking the jury to acquit because the victims could be compensated by civil

 litigation, and inexplicably invoking the U.S. presidential election.” [Id.].

        The Court first analyses whether the prosecutor’s statements or conduct constitute an error

 and then the Court reviews whether the error was flagrant. Carson, 560 F.3d at 574. If a flagrant

 error exists, the Court next analyses whether a new trial is warranted under the plain error standard.

 United States v. Al-Maliki, 787 F.3d 784, 795 (6th Cir. 2015).




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             A. Whether the Prosecutor’s Statements or Conduct were Improper.

                        1. Whether the prosecutor’s conduct in eliciting testimony regarding
                           whether the defendant acted in accordance with LMPD policies
                           and training was improper.

         Hankison appears to assert this first allegation of improper conduct in the “statement of

 facts.” [DE 254 at 13588-90]. Hankison notes in reply that the United States fails to respond to

 this issue.5 [DE 265 at 13789].

         First, Hankison’s arguments relate to a pre-trial motion in which he sought to preclude

         the government from introducing, referring to, or soliciting testimony from any of
         its witnesses regarding personal or expert opinions as to whether [sic] the
         reasonableness/ unreasonableness, appropriateness/ inappropriateness of
         Defendant’s use of deadly force during the incident in question, and/or whether
         Defendant’s use of deadly force amounted to violation of the Louisville
         Metropolitan Police Department’s policies and procedures or training in its case in
         chief, or during opening and closing arguments in its case in chief, or during
         opening and closing arguments [sic].

 [DE 161 at 5755].

         In ruling on this request, this Court addressed three issues raised by Hankison: (1)

 testimony from other officers regarding the reasonableness of Hankison’s actions; (2) testimony

 from officers who did not personally observe Hankison’s use of force and (3) limitations on the

 prosecution’s opening and closing arguments. As to the reasonableness of Hankison’s actions, all

 parties agreed that “testimony addressing the ‘reasonableness’ or ‘appropriateness’ of his

 actions—in other words, providing legal conclusions for the jury—would be inappropriate” as they

 encompassed the ultimate issue before the jury. [DE 189 at 8892 (citing DE 161 at 5755 and DE



 5
   While Hankison suggests that the failure to respond is “both peculiar, and telling,” based on its location
 in the motion, the Court does not find such significance. [DE 265 at 13789]. This argument was discussed
 in the statement of facts, but never returned to or discussed in Hankison’s analysis. Instead, it is replaced
 in the analysis with an argument regarding whether the prosecutor disregarding the Court’s admonishment
 not to discuss whether other officers should have been charged with crimes. This later argument was not
 enumerated in the motion’s introduction. Regardless, the Court addresses both allegations of error.

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 174 at 5888)]. As to testimony from officers who did not personally observe Hankison’s use of

 force, again the parties agreed “such witnesses ‘may not opine’ about whether Hankison’s actions

 complied with LMPD policies, procedures or training.” [DE 189 at 8892]. However, the United

 States argued that “‘all officer-witnesses may’ offer ‘testimony about training standards, rooted in

 personal knowledge,’ including how such training would apply in ‘circumstances that are similar

 to’ those of this case.” [Id. at 8892-93 (citing DE 174 at 5889)]. The Court agreed, stating:

         The Court finds nothing problematic with the testimony on these subjects that was
         admitted at the first trial. Witnesses may testify regarding their personal knowledge
         of LMPD policies, procedures and training; their personal observations at the scene;
         or both. See Fed. R. Evid. 602. They generally may provide lay opinions that are
         “rationally based on [their] perception[s]” and “helpful to . . . determining a fact in
         issue.” Fed. R. Evid. 701. The United States contends that one officer, Detective
         M.C., “witnessed [Hankison]’s shooting and therefore may offer opinions” about
         whether the shooting “was consistent with deadly force standards.” [DE 174 at
         5894].

 [DE 189 at 8893]. And finally, as to comments in openings and closings, the Court found that

 Hankison’s arguments lacked specificity or legal support and declined to make any preliminary

 rulings. [Id.].

         In this current motion, Hankison argues that the United States, despite this pre-trial order,

 “elicit[ed at trial] the precise type of testimony it agreed would be improper from seven

 witnesses—counting Myles Cosgrove—including from two individuals who weren’t present

 during the shooting in question, nor were at the scene at any point in time before, during or

 afterwards. (e.g., Brett Routzahn, Paul Humphrey).” [DE 254 at 13590 (citing to testimony from

 Routzahn and Humphrey)]. While Hankison states that improper testimony was garnered from

 “seven witnesses—counting Myles Cosgrove,” Hankison only cites to Routzahn’s and

 Humphrey’s testimony with any citation or identification. [DE 254 at 13590]. As a result, the




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 Court analyzes only the testimony of these two witnesses and finds no error or violation of the pre-

 trial order.

         Chief Humphrey gave extensive testimony regarding LMPD policies and procedures

 including those related to the use of deadly force. [See generally, DE 248]. The excerpts

 challenged by Hankison relate to questions asked of Humphrey regarding use of deadly force in

 specific situations. Here, the prosecution elicited testimony as to whether actions were consistent

 with LMPD training and policies to shoot in specific situations. After having Humphrey read

 Hankison’s own prior sworn testimony, documenting Hankison’s personal on-scene perceptions

 on the night in question, Humphrey was asked whether it was consistent with LMPD policy to

 shoot under the circumstances documented.

         Q. Sir, I’m now going to show you what has been admitted as Exhibit Number 186.6
         You’ve had a chance to review this previously; is that right?

         A. Yes, sir.

         Q. And do you understand this to be testimony that Brett Hankison gave under oath
         in a prior proceeding?

         A. Yes, sir.

         Q. Could you please read this to us?




 6
   Several individual exhibits were entered into evidence containing directly quoted testimony of Hankison
 from the first trial. [DE 211, Trial Tr. Vol. 6-A at 12934, United States Exhibits 178-90]. All were entered
 without objection.

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       A. “At the time you fired through this window, could you see an actual person
       through the window?” The answer was, “I could not.” “Okay. Could you even see
       the silhouette or outline of an actual person?” Answer: I could not. “Could you see
       any shadows or anyone moving around in that apartment?” Answer: I could not.
       “Could you see if there was an actual person somewhere in that bedroom?” Answer:
       I could not. “Could you see if there was an actual person in the hallway that's
       beyond the bedroom?" "I could not." "Could you see if there was an actual person
       in the bathroom that was on the other side of that hallway?" Answer: No, sir. “The
       one where one of your bullets was recovered in the soap dish, right? You couldn’t
       see if anyone was in there?” Answer: Correct. “And even though you couldn’t see
       any of those things, you fired five shots through this covered window, correct?”
       Answer: I did.

       Q. Based on your knowledge of the training and policies at Louisville Police
       Department, is it consistent to shoot in that situation?

       A. No.

       Q. Is that a close call?

       A. No, it does not sound like it.

       Q. Is it consistent with the rules you taught officers and the tactics you taught
       officers in that ICAT training that we’ve been talking about today?

       A. No.

       Q. The one that Brett Hankison took just a few months before the shooting
       happened?

       A. Correct.




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 [DE 248 at 13373-75; DE 212 at 11913-14 (asking Routzahn about Ex. 186 and asking the same

 or similar questions.7)]. Similarly, in respect to Exhibit 187, Humphrey testified:

         Q. We’ll now show you Exhibit 187, please, which is also admitted. And, sir, could
         you please read this one as well?

         A. "And, again, with these shots in the bedroom window, you couldn't actually see
         any person that you were shooting at at the time you pulled your trigger, right?"
         Answer: Correct. "Even by sort of your own account, you did not have target
         identification when you fired through this apartment's bedroom window?" Answer:
         No. I made that target identification at the front door. Question: A number of
         seconds earlier before you ran around the apartment before you fired through a
         different window? Answer: Correct. "That's the last time you had target
         identification?" Answer: When I had left the doorway; yes, sir. "You no longer had
         target identification when you shot through that bedroom window?" Answer:
         Correct.

         Q. Are officers in the Louisville Police Department allowed to fire their weapon
         when they don’t have target identification?

         A. No.

         Q. So as the chief of police, and based on your knowledge of the rules and training,
         what’s your reaction to seeing that an officer fired in that situation?

         A. My reaction of those statements or my reaction to seeing somebody fired for
         those statements?

         Q. No. I’m sorry. To see him fire a weapon, so just seeing those statements.




 7
   Q. Is the description of what Brett Hankison saw and firing in that situation what you teach officers to do
 in your active shooter response training?
 A. No, sir.
 Q. Based on your knowledge of LMPD’s policy and training, what's your reaction to seeing that he shot in
 that scenario?
 A. My reaction would be that was totally inappropriate to fire those rounds if he didn’t see anybody. It’s—
 that’sbad.
 Q. Why is it bad?
 A. Well, as I mentioned earlier—and I can—it’s more if. Who’s on the other side of those windows that
 you can’t see? And we brought up the school, which—that’s one of the main things that we’ve always
 trained for because of the kids and innocent people. You don’t want to kill an innocent person. And firing
 as in that statement, you—if you fire like that, it could very well lead to shooting somebody that’s innocent.
 [DE 212 at 11913-14].

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        A. Oh, it’s bad. I don’t know why someone would make a decision under those
        circumstances to shoot their gun. I mean, we’re in stressful situations every day.
        Particularly those of us who have worked in career paths within this profession
        where we deal with violent criminals and guns on a regular basis. To think that—
        to think that you would shoot, and then—and there’s -- it make—it doesn’t make
        sense to me. While I get that it’s stressful, I’ve never had a partner shot in front of
        me. I’ve been around several officer-involved shootings. I’ve been shot at several
        times where I couldn't fire back. That's just not a decision you make in that
        circumstances—in that circumstance given what he said he knew at the time.

        Q. First thing you said was, “It’s bad.” Why is it bad?

        A. I mean, he said he didn’t know what he was shooting at. That’s – it’s basic.

        Q. And what’s the risk of shooting in that situation?

        A. You shoot the wrong person, and innocent people die.

 [Id. at 13375-77].

        In both instances, Humphrey is asked about whether the scenario set forth in Hankison’s

 sworn testimony is compliant with LMPD policies and procedures and a specific training that

 Hankison took a few months before the shooting. The United States had the burden to show, as

 an element of the crime, that Hankison’s actions were willful, and the jury was permitted to

 consider, in determining Hankison’s state of mind, “whether the defendant had been trained, and

 whether his actions were consistent or inconsistent with that training.” See [DE 228, Jury

 Instructions, at 10883, 10885, 10891]. Thus, it is appropriate for the United States to offer evidence

 as to whether Defendant’s actions were in keeping with LMPD training, policies and procedures

 as a violation of a policy may help to demonstrate that Hankison acted willfully.




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        [A]n officer’s training can help inform his state of mind in certain circumstances.
        If, for example, an officer has been trained that officers should do certain things
        when confronted with tense situations, and he does those things, the fact that he
        acted in accordance with his training could make it less likely that he acted willfully
        . . . And vice versa: If . . . an officer has been trained that officers should not do
        several things when confronted with tense situations, yet he does those things
        anyway, the fact that he broke from his training could make it more likely that he
        acted willfully.

 United States v. Bryant, 528 F. Supp. 3d 814, 818 (M.D. Tenn. 2021) (quoting United States v.

 Proano, 912 F.3d 431, 439 (7th Cir. 2019) (collecting cases)). As a result, the questions asked to

 Humphrey and Routzahn about whether specific scenarios violated policy were appropriate and

 relevant as they went directly to an element of the crime charged.

        Further, Humphrey’s and Routzahn’s testimony was based on the evidence, specific sworn

 testimony.   Their testimony was not based on hypotheticals drawn from the prosecutor’s

 imagination, but on exhibits entered in evidence which Hankison never objected to or disputed. In

 fact, the exhibits mirror Hankison’s testimony given at the second trial regarding his perceptions

 on the night the night in question. What the prosecutor did in the second trial was use Hankison’s

 own sworn statements to create the scenarios regarding training that the officers were asked about.

 Rather than ask whether his training and LMPD policy would allow an officer to shoot if he did

 not see an actual person or a silhouette of a person, the prosecutor had the officer read Hankison’s

 description in which he stated he did not see a person or a silhouette and then asked under those

 circumstances if firing would be in keeping with LMPD policy. This tactic or line of questioning

 was not available to the prosecution in the first trial because the testimony was not yet available.

 As a result, the pre-trial order did not consider this line of questioning. When this Court issues a

 ruling in limine, it is “no more than a preliminary, or advisory, opinion.” United States v. Yannott,

 42 F.3d 999, 1007 (6th Cir. 1994) (citing United States v. Luce, 713 F.2d 1236, 1239 (6th Cir.

 1983), aff’d, 469 U.S. 38 (1984)). Thus, even where a motion in limine is denied, the Court may


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 return to its previous ruling at trial “for whatever reason it deems appropriate.” Id. (citing Luce,

 713 F.2d at 1239). Likewise, the Court has discretion to alter or amend an earlier in limine ruling

 at trial. Luce, 469 U.S. at 41–42. The Court, thus, had the ability to admit the appropriate testimony

 at trial. Just as importantly, the defense never objected to the exhibits or to the line of questioning

 during trial.

         Moreover, even though the Court did not consider this specific line of questioning in its

 pre-trial order, the testimony still appears to fit in the Court finding that “[w]itnesses may testify

 regarding their personal knowledge of LMPD policies, procedures and training; their personal

 observations at the scene; or both. They generally may provide lay opinions that are “rationally

 based on [their] perception[s]” and “helpful to . . . determining a fact in issue.” [DE 189 at 8893].

 The testimony of these officers is rooted in personal knowledge of the training standards and

 includes “how such training would apply in ‘circumstances that are similar to’ those of this case.”

 [DE 189 at 8892-93 (citing DE 174 at 5889)]. Here, the testimony encompassed not just

 circumstances that are similar to those of this case, they are the exact circumstances perceived by

 the Defendant at the time he shot, in his own words. As such, the was no substantial lack of

 compliance with the Court’s order, and even if there was, the Court had discretion to alter or amend

 its motion in limine ruling at trial. Luce, 469 U.S. at 41–42.

         Notably, contrary to Hankison’s assertions, these officers are not asked whether the force

 used was “lawful,” “justified,” or “appropriate.” [DE 265 at 13788]. Because “[t]he excessive-

 force inquiry is governed by constitutional principles, not police-department regulations,” “[a]n

 officer’s compliance with or deviation from departmental policy doesn’t determine whether he

 used excessive force.” Bryant, 528 F. Supp. 3d at 818 (quoting United States v. Brown, 871 F.3d

 532, 537 (7th Cir. 2017)). And therefore, does not reach the ultimate issue in the case or invade



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 the province of the jury. Here, the jury is entitled to infer “willfulness [] from ‘plainly’ wrongful

 conduct, inconsistency between actions and training, and efforts to prevent detection of wrongful

 behavior,” among other things. Bryant, 528 F. Supp. 3d at 818 (quoting United States v. Brown,

 654 F. App’x 896, 910 (10th Cir. 2016)); see also [DE 228, Jury Instructions, at 10891]. The

 witnesses were never asked the ultimate question of whether Hankison’s actions were contrary to

 the legal standard, they were asked if LMPD policy and training would permit an officer to fire

 under the conditions described in the sworn testimony.

        Finally, these officers all testified to both facts and opinions, as denoted in the jury

 instructions. [DE 228 at 10906]. Hankison asserts that

        [p]rosecutors improperly asked for opinions from witnesses regarding the
        appropriateness of Defendant’s actions and whether they complied with LMPD
        Training and Standard Operating Procedure regarding the use of deadly force,
        despite not having the requisite perception needed to rationally tie their opinions
        to—prosecutors frequently had the witnesses read off extremely limited snippets of
        statements made by Defendant, and sought their opinions based solely on
        that…clearly violat[ing] Federal Rule of Evidence 701.

 [DE 265 at 13804]. The Court disagrees. The officer’s opinions were based on their personal

 training and experience with LMPD policies and procedures. They were also based directly on the

 perception of Hankison as depicted through Hankison’s own sworn testimony. As a result, the

 officers had the “requisite perception” of the circumstances to apply to their own experience and

 training to form an opinion about whether the circumstances described by Hankison in his own

 words would allow them to shoot pursuant to LMPD policy and training.

        Moreover, the jury had the tools in the jury instructions to evaluate this type of testimony.

        You have heard the testimony of Myles Cosgrove, Michael Campbell, Brandon
        Hogan, Paul Humphrey, Dale Massey, Jon Mattingly, Michael Nobles, Brent
        Routzahn, and Jason Vance who testified to both facts and opinions. Each of these
        types of testimony should be given the proper weight.




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         As to the testimony on facts, consider the factors discussed earlier in these
         instructions for weighing the credibility of witnesses.

         As to the testimony on opinions, you do not have to accept these witnesses’
         opinions. In deciding how much weight to give it, you should consider the witness’s
         qualifications and how he or she reached their conclusions along with the other
         factors discussed in these instructions for weighing the credibility of witnesses.

         Remember that you alone decide how much of a witness’s testimony to believe,
         and how much weight it deserves.

 [DE 228 at 10906]. These witnesses were properly identified in the jury instruction as witnesses

 to both fact and opinions.

         The jury instructions also properly instructed that the testimony regarding training was

 admissible for the limited purpose of determining willfulness. [DE 228, Jury Instructions at

 10904]. The instruction states, in part:

         It is, of course, wholly up to you to determine whether the defendant violated any
         rule or acted in contravention of his training. If you find that he acted in
         contravention of policies or training, then I caution you that not every instance of
         inappropriate behavior on the part of a government employee rises to the level of a
         federal constitutional violation. It is possible for a government employee to violate
         department policy or act contrary to his training without violating the United States
         Constitution . . . For this reason, proof that a defendant violated policy or acted
         contrary to training is relevant to your determination of willfulness, but is not
         relevant to your determination that the defendant violated a victim’s constitutional
         rights.

 [Id.]

         “When a court instructs a jury to do something, there is a strong presumption that the jury

 will follow that instruction.” United States v. Starnes, 552 F. App’x 520, 524 (6th Cir. 2014) (citing

 Richardson v. Marsh, 481 U.S. 200, 206 (1987) (“This accords with the almost invariable

 assumption of the law that jurors follow their instructions, which we have applied in many varying

 contexts.”) (citations omitted)). The Court must assume then that the jury used these instructions

 to properly evaluate the testimony.



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         Contrary to Hankison’s assertions, the citations to the testimony in the record do not offer

 opinions regarding “whether the defendants force met applicable legal standards such as whether

 it was “reasonable” under the Fourth Amendment or analogous conclusions such as whether the

 force was ‘lawful,’ ‘justified,’ or ‘appropriate.’” [DE 265 at 13788 (emphasis in original)]. As a

 result and for all the reasons stated supra, they do not constitute improperly elicited testimony and

 were not in violation of the Court’s pre-trial order.

                        2. Whether the prosecutor improperly disregarded the Court’s
                           instruction to avoid commenting or litigating whether other
                           officers involved should have been charged with a crime for
                           shooting.

         Hankison also asserts that the prosecutor violated the Court’s instructions during trial to

 avoid litigating issues for which Hankison was not on trial; specifically, whether any other officer

 could or should have been charged with a crime for firing into the apartment complex.8 Hankison’s

 motion describes, in part, the admonishment made by the Court, and then lists several statements

 made during closing arguments by the prosecutor which he alleges were contrary to the Court’s



 8
   The argument that the defense attempted to assert at trial was more relevant to Count 2, regarding the
 neighbors in the apartment behind Taylor’s apartment. Thus, the Court questions whether, even if there
 had been improper commentary on this issue in closing arguments, it would have had any affect to mislead
 the jury or prejudice Hankison as to his guilt on Count 1.

          As the trajectory evidence demonstrates, two of Cosgrove or Mattingly’s bullets, which were shot
 from the doorway of Taylor’s apartment in response to Walker’s initial shot, went through Taylor’s kitchen
 ceiling and into the apartment above Taylor’s. [DE 207, Trial Tr. Vol. 5-B at 13500-01]. The comparison
 sought to be made by defense at trial was that it was unfair or illogical that Hankison was on trial in Count
 2 for the bullets that went through Taylor’s kitchen and bathroom walls into the neighbor’s apartment, while
 Cosgrove or Mattingly was not charged for those bullets that reached the neighbor’s apartment above. The
 Court noted that this violates the jury’s instruction to only consider the Defendant on trial.

         Also keep in mind that whether anyone else should be prosecuted and convicted for these
         crimes is not a proper matter for you to consider. The possible guilt of others is no defense
         to a criminal charge. Your job is to decide if the government has proved the defendant
         guilty. Do not let the possible guilt of others influence your decision in any way.

 [DE 228, Jury Instructions, at 10881].

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 instructions. [DE 254 at 13593-95]. However, Hankison fails to analyze how the statements

 violated the Court’s instructions, why they were improper, or cite to any caselaw. Counsel merely

 block quotes excerpts of the prosecutor’s closing argument, emphasizing words or sentences in

 bold or italics, but providing no argument as to how the statements were improper other than the

 assertion that the excerpts were not in keeping with the Court’s instruction, an instruction defense

 counsel concedes in reply he may have simply misunderstood. [DE 254 at 13594; DE 265 at

 13801]. The United States responds in the body of its analysis. [DE 260 at 13759-61].

        In preparation for closing arguments, the Court provided some words of caution to counsel.

 Specifically,

        I just want to make clear that this case is not about litigating the prior search
        warrant. There are criminal matters out there already. There’s two pending in this
        court. So we are not litigating whether or not those were good search warrants.

        We’re not litigating whether or not SWAT should have been executing this search
        warrant or not. That’s not for this court case.

        We’re certainly not litigating whether there were other officers that may or may not
        have been doing something that they may or may not should have been doing. Only
        this officer is on trial. And to suggest that there are other officers that have done
        something wrong or should have been on trial here, that’s not a proper argument.
        We’re not litigating that. What we are litigating is this one defendant’s decisions
        on that night based on the information he had on that night.

 [DE 222, Trial Tr. Vol. 9-B at 12359-60].

        After questions from the prosecution, Defense counsel asked a follow up question about

 the Court’s instructions.

        I don’t have any intention at all to talk about—in litigating the search warrant,
        whether it was a good search warrant or a bad warrant, whether SWAT should have
        done this or not. I have no intention at all about making any arguments or illusions
        to jury nullification.




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        I just do want to put this out there. I think the other officers who were present who
        have given their opinion about what Detective Hankison did and whether it was
        reasonable or whether they would have done it, I think, calls into question some
        line of comment about their actions that evening and what they did and didn’t do.

        I’m not suggesting that anyone committed a crime or violated a policy here, but I
        think it’s incumbent upon me to talk to the jury about what these other officers
        perceived and what they did based on their perceptions.

        But I promise you I’m not going to get anywhere near a jury nullification argument.
        I’m not even sure how I could make that. We’re focused on Brett. But these officers
        are—have been held out, I’m assuming, and the Government will argue, ‘Well,
        these are reasonable officers, and you should listen to them because they said they
        wouldn’t do what Mr. Hankison did.’

 [Id. at 12362-63]. In response, the Court reiterated that the opinions of the attorneys were not

 permitted but stated that:

        You are certainly permitted to point out discrepancies in what officers did or did
        not do on the scene and how that correlates with what the jury’s heard about their
        training, but you cannot insinuate that some other officer should have been—should
        have been . . . we had one snippet of it a couple of days ago where we came really
        close on talking about another officer that maybe should not have—should be on
        trial as well.

        And I don’t want that because that’s -- that does not matter. This defendant is the
        only defendant on trial. I am pretty sure that’s in all of our jury instructions that you
        can’t consider whether somebody else should be on trial with him. It’s just him.

        So I think you can absolutely point out what other officers on scene did or did not
        do and how that matched up with their training. You know, they can decide for
        themselves who’s reasonable or unreasonable. But you’re presenting what they did
        and what they saw with that -- you know, with that understanding. This is a
        reasonable officer, what a reasonable officer would have done with the information
        available to them.

        And so I think all of that, what other officers did and did not do and how it correlates
        to their training, is fine. But to imply that somebody else—that only he is only trial
        or that he is being railroaded into a trial because he’s the only one on trial, those
        things are completely inappropriate.

 [Id. at 12364-65]. Defense counsel stated, “I understand and agree.” [Id. at 12365].




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        Hankison now asserts that several statements made in closing argument violated the

 Court’s instructions. Each of the statements objected to discuss the fact that Hankison fired

 through the covered windows and doors, while the other officers on scene did not, and those who

 did fire their weapon did so through the open doorway. [DE 254 at 13594]. The United States

 points out that each statement focuses on the officers’ perceptions about whether they could or

 would fire through windows and doors that were covered. Each statement is based on what the

 officer would do as a result of what he could see, it did not discuss litigating whether any other

 officers’ behavior was criminal or whether another officer should be on trial for such behavior.

 These statements were neither improper nor issues that the Court specifically requested the parties

 not approach. Further, the prosecutor’s statements were consistent with the testimony in the case

 and in keeping with the jury instructions regarding the reasonable officer standard. [DE 228, Jury

 Instructions, at 10888 (“[t]o determine whether any force used by the defendant was objectively




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 reasonable, you should consider all of the facts and circumstances as they would be viewed by an

 ordinary and reasonable officer on the scene at the moment that force was used.”)]. 9



 9
   Hankison identifies seven excerpts. The first excerpt [DE 241, Trial Tr. Vol. 11 at 12840, ln. 25-41, ln.6]
 is analyzed infra. The second [Id. at 12843, ln.11-13] and fifth [id. at 12845 (summarizing the section of
 closing argument that began with the second quote)] excerpts address the same basic quote “you know that
 no reasonable officer would have fired through those closed blinds and curtains of an apartment building
 because no other officer did.” This quote specifically addresses the reasonable officer standard called for
 in the jury instructions and does not address the criminality of any other officers’ actions.

           The fourth excerpt [Id. at 12844] states “None of the other six officers fired into those windows
 because firing blindly into covered windows in a home was not an option based on their policy and their
 training and their common sense. Firing into covered windows in an apartment building is not a valid police
 tactic. It’s a crime.” The first and second sentences accurately reflect testimony and inferences that can be
 drawn from the testimony regarding LMPD’s training and policy and does not address any area prohibited
 by the Court’s instruction. While the third sentence goes to the ultimate issue, a prosecutor is “free to argue
 that the jury should arrive at a particular conclusion based upon the record evidence . . .” Caldwell v. Russell,
 181 F.3d 731, 737 (6th Cir. 1999), abrogated on other grounds as recognized by Mackey v. Dutton, 217
 F.3d 399, 406 (6th Cir. 2000).

         The sixth excerpt [Id. at 12850, ln. 3-8] and surrounding context [id. at 12849, ln. 22-50, ln. 3],
 discusses the officers’ perceptions,

         So the defendant only wants you to focus on that first requirement about whether he
         perceived a threat because he has no answer at all for the second requirement that he has
         to act reasonably in response to that threat. The defendant had no target identification when
         he shot. There's just no question that the defendant, like all the other officers on scene,
         perceived a threat. But all the officers on scene perceived that same deadly threat and none
         of the other officers fired through the covered windows because they didn’t have target ID,
         they couldn’t do it safely, and they told you that decision was not a close call because that’s
         not reasonable.

 Again, the statement accurately discusses testimony and valid inferences. It reflects the reasonable officer
 standard, and the statement does not address any area prohibited by the Court’s instructions.

          And finally, the seventh excerpt [DE 241, Trial Tr. Vol. 11 at 12916, ln. 10-14] discussed defense
 counsel’s focus on whether the officers knocked and announced and that being a red herring because all the
 officers knew there was a threat regardless of whether “that was a threat because the person inside had been
 surprised and, like, shot in self-defense or because the person inside was a criminal and was trying to shoot
 the police.” [Id. at 12916, ln. 4-7]. The excerpt stated “But none of the other officers responded to that
 threat by going around to the side of the apartment and shooting through covered windows they couldn’t
 see into and putting innocent lives in danger. That’s why the defendant is guilty.” [DE 241 at 12916, ln.
 10-14]. As with the previous statement, this was based on testimony and inferences properly drawn. Again,
 the prosecutor was able to indicate the outcome requested and it does not broach the areas referenced in the
 Court’s instruction. Caldwell, 181 F.3d at 737. Finally, this excerpt was made in the prosecutor’s rebuttal
 argument and in response to defense counsel’s arguments. While this would not excuse any error, it does
 mitigate the severity of any harm. See Angel v. Overberg, 682 F.2d 605, 608 (6th Cir. 1982).

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        Moreover, the prosecutor’s now objectionable statements comprise the same topics that

 defense counsel vigorously requested he be able to comment on in his closing as well and which

 the Court permitted. [DE 241 at 12874-78]. Defense counsel argued to the jury:

        Detective Hankison who fired here, that conduct shocks the conscience and is
        outrageous and violates every training principle that any police officer has ever
        heard. These shots hit the same wall. This bullet is deposited right next to the bullet
        that Detective Hankison fired. Yet this is reasonable, that’s reasonable, and this is
        criminal.

 [DE 241 at 12873-74]. The United States objected. And defense counsel argued:

        Your Honor, Mr. Songer said in closing argument less than an hour ago, there were
        six officers who acted reasonably including the two officers who fired from there.
        He said in closing argument that Detective Cosgrove testified how what Brett did
        was unfathomably dangerous. And his whole argument is all those other officers
        were reasonable except Detective Hankison. And when we talked about this
        yesterday or the day before, Your Honor, I said I’m not going to suggest that other
        people should be charged, but what I’m going to do is compare the other officers’
        actions with Detective Hankison’s to show that Detective Hankison was being
        reasonable.

 [DE 241, Trial Tr. Vol. 11 at 12875]. Both the Court and the United States agreed that comparison

 between the circumstances in which other officers fired was fine, but whether another officer’s

 shot should be considered criminal, was not appropriate. The United States stated “I agree, Your

 Honor. No problem with them talking about the conduct of the different officers, just the

 criminality.” [DE 241, Trial Tr. Vol. 11 at 12877]. Then Court also stated:

        you can talk all you want about comparing the firing, what they saw, what they
        were looking at, all of that is absolutely fair game as to whether or not what they
        saw and what they did was reasonable, but the implication here is going a little far
        and I’ve already said that. So the implication here is probably not appropriate, so
        just step back from that. You can keep going on the same route, but about what they
        saw and what they did, okay?

 [Id. at 12878].




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            Finally, the issue came up again in relation to rebuttal. Counsel for Defendant objected10

 to the United States’ rebuttal argument addressing the comparison of Hankison’s shots to those of

 Cosgrove and Mattingly.

            defense attorney also showed you those trajectories and talked about all the shots
            fired by officers on scene and said something pretty extraordinary. Said that the
            defendant did the same thing as Mattingly and Cosgrove in the doorway. The same
            thing. So let’s talk about a few of the differences that you all heard during this trial.

 [Id. at 12904]. Defense counsel stated his objection and the Court responded.

            MR. MALARCIK: Your Honor, this is exactly what I was not permitted to do. This
            is just not fair. I couldn’t get into the differences between those officer[s][sic] and
            what they did and didn’t do and the effect of their actions and now he’s going to be
            able to say to this jury for the last 15 minutes exactly what I was prevented from
            doing.
            THE COURT: You—I told you that you could talk about their perspective, what
            they saw, I told you, you could talk about what they experienced. What I don’t want
            to get into, right, was where their bullets were going.
            MR. MALARCIK: Then I would expect the government cannot talk about where
            those bullets went either in this rebuttal. That’s the fair thing to say.
            MR. SONGER: I’m not planning to. I'm talking about the circumstances they’re
            shooting.
            THE COURT: It’s what I said to you, you can talk about what they saw and their
            perspective. You’re perfectly entitled to talk about that. I don’t have a problem with
            that. The only thing is the comparison of those issues when we get to the criminality
            which is, well, these bullets went into a neighboring apartment and those bullets
            did not. And I thought I was pretty clear, you could go on as much as you wanted
            about their perspective and what they saw and making that comparison. It's just the
            criminality piece which really only goes to that last little bit of what happened to
            their bullets, not what they were doing or seeing or experiencing. So, I think that’s
            – that’s fair on your side, fair on their side. The only thing that’s not is just that
            criminality piece. Is that –
            MR. MALARCIK: I respectfully disagree and I object.
            THE COURT: To?
            MR. MALARCIK: If the government starts talking about the direction of Detective
            Hankison’s bullets and how that is unconscionable and how it’s unreasonable and
            how it’s a crime, then I should be able to get back up and talk about the direction
            of the other officers’ bullets. That's only fair.
            MR. SONGER: He did talk about the direction of the other officers’ bullets.




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      This was the only time defense counsel objected on an issue related to this motion for new trial.

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        THE COURT: And I didn’t strike any of that. Let’s be clear, I didn’t strike any of
        that. I struck nothing that you had previously said, but we were getting to the point
        of getting into the criminality and that was the objection. I didn’t strike anything
        about that.
        MR. MALARCIK: Mr. Songer cannot make a conclusion about the criminality of
        any shots fired anywhere.
        THE COURT: No, he can't make –
        MR. SONGER: I don’t plan to.

 [DE 241, Trial Tr. Vol. 11 at 12904-05]. The United States was directly addressing the factual

 comparison drawn in defense counsel’s argument that “[t]hese shots hit the same wall. This bullet

 is deposited right next to the bullet that Detective Hankison fired. Yet this is reasonable, that’s

 reasonable, and this is criminal,” and continued to make the same comparisons. Defense counsel

 was permitted to draw the comparison but was not permitted to argue that or imply that the other

 officers’ shots were criminal or that they should have been charged with a crime.

        In reply, although not identified by a particular heading, defense counsel concedes that

 “[t]he undersigned won’t rule out the possibility of misunderstanding the Court’s instruction, and

 it being intended to be narrowly construed to statements regarding criminality.” [DE 265 at

 13801]. As the numerous quotes from both the Court and prosecutor indicate, that was the

 instruction, that comparisons were appropriate, but whether another officer’s bullet was criminal

 (and whether another officer should be on trial) was not. The reply brief then redirects its

 arguments to how these comparisons “misstate[] the evidence” which is addressed infra. [Id.].

        The prosecution necessarily has “wide latitude” during closing argument to respond to the

 defense’s strategies, evidence, and arguments. Henry, 545 F.3d at 377. Moreover, under United

 States v. Collins, 78 F.3d 1021, 1040 (6th Cir.1996) and United States v. Parker, 49 F. App’x 558,

 563 (6th Cir. 2002), counsel must be given leeway to argue reasonable inferences from the

 evidence. The comparisons here were not improper and they did not exceed the scope of defense

 counsels’ own arguments. Finally, because defense counsel made similar comparisons during


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 closings and discussed the need to be allowed to make these comparisons during various

 objections, it is now insincere to argue that these comparisons were inappropriate.

                       3. Whether the prosecutor engaged in improper witness vouching

           The Court affords significant discretion to a prosecutor during closing argument,

 “analyzing the disputed comments in the context of the trial as a whole and recognizing that

 inappropriate comments alone do not justify reversal where the proceedings were otherwise fair.”

 United States v. Boyd, 640 F.3d 657, 669–71 (6th Cir. 2011) (quoting Henry, 545 F.3d at 377

 (internal quotation marks and citation omitted)). That said, prosecuting attorneys have as much a

 duty “to refrain from improper methods calculated to produce a wrongful conviction” as they do

 “to use every legitimate means to bring about a just one.” Berger v. United States, 295 U.S. 78, 88

 (1935).

           “Improper vouching occurs when a prosecutor supports the credibility of a witness by

 indicating a personal belief in the witness’s credibility thereby placing the prestige of the

 [government] behind that witness.” Wogenstahl v. Mitchell, 668 F.3d 307, 328 (6th Cir. 2012)

 (quoting Johnson v. Bell, 525 F.3d 466, 482 (6th Cir. 2008) and United States v. Francis, 170 F.3d

 546, 550 (6th Cir.1999)); Trujillo, 376 F.3d at 607–08; United States v. Martinez, 253 F.3d 251,

 253–54 (6th Cir. 2001). “Generally, improper vouching involves either blunt comments or

 comments that imply that the prosecutor has special knowledge of facts not in front of the jury or

 of the credibility and truthfulness of witnesses and their testimony.” Francis, 170 F.3d at 550

 (internal citations omitted). “It is patently improper for a prosecutor either to comment on the

 credibility of a witness or to express a personal belief that a particular witness is lying.” Hodge v.

 Hurley, 426 F.3d 368, 378 (6th Cir. 2005) (citing Young, 470 U.S. at 17–19). “An improper

 statement of personal belief, however, is not per se reversible error. [We] must find that the



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 improper statement was flagrant enough to ‘warrant reversal.’” Henry, 545 F.3d at 380 (internal

 citation omitted). The prosecutor is, however, “free to argue that the jury should arrive at a

 particular conclusion based upon the record evidence . . .” Caldwell, 181 F.3d at 737.

         Defendant asserts that the United States

         made a variety of statements which amounted to expressing his personal opinion
         about the truthfulness and/or reliability of witnesses’ testimony. Specifically, by
         imploring the jury to apply more weight to the testimony of officers called by the
         government throughout the entirety of his closing.

 [DE 253 at 13596]. Without any further analysis, Hankison block quotes two sections of the

 prosecution’s closing argument. The United States responded arguing that “[t]he government’s

 statements cited by the defense motion accurately recount witness testimony, describe witnesses’

 incentives to testify on behalf of the parties, and highlight other facts that are relevant to the jury’s

 assessment of credibility––they do not express the prosecutor’s personal opinions.” [DE 260 at

 13761].

         The first block quote highlights public trust in law enforcement.

         He [Defendant] gravely underestimated the courage and character of those fellow
         officers. No policeman ever wants to testify against one of their fellow officers, but
         officer after officer came into court during this trial and told you that firing into
         covered windows in an apartment building when an officer can’t see inside violated
         not just the most basic rules that they’re taught in their training but also what they
         stand for.

         Chief Humphrey told you when that happens, it breaks down the trust that police
         have to have in the community and end up making the job of police officers more
         difficult and more dangerous. All those officers came forward because they knew
         the defendant violated the oath that they all swore to protect human life.

         They knew the defendant did a disservice to all the law enforcement officers who
         put on their uniform every day to protect and serve. He dishonored every one of
         them when he fired blindly into the homes of innocent people.

 [DE 241, Trial Tr. Vol. 11 at 12838]. This quote does not directly implicate any personal opinion

 of the prosecutor or attempt to support the witness’s credibility. It does seek for the jury to draw


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 a connection between an officer’s reticence to testify against a fellow officer and the fact that they

 testified against a fellow officer here. The inference being that because they testified against an

 officer, it must have been truly dishonorable behavior.

        It is permissible for a prosecutor to assert that a witness is telling the truth or failing to tell

 the truth during closing argument by “emphasizing discrepancies between the evidence and that

 defendant’s testimony” or identifying where the evidence aligned. Francis, 170 F.3d at 551. “To

 avoid impropriety . . . such comments must reflect reasonable inferences from the evidence

 adduced at trial.” Id. (internal quotation marks omitted); Wogenstahl v. Mitchell, 668 F.3d 307,

 331 (6th Cir. 2012). Counsel for the United States used inferences to make such a connection here

 and did so by referring to the testimony of Chief Humphry and other officers. As is permissible,

 the United States properly “encourage[ed] the jurors to look at the evidence presented while

 considering the motivations behind the testimony.” Id. (rejecting defense argument that prosecutor

 vouched); see also Collins, 78 F.3d at 1040 (finding that a prosecutor did not vouch by telling the

 jury that various government witnesses had “no reason to lie” and emphasizing that “counsel must

 be given leeway to argue reasonable inferences from the evidence”).

        The second block quote focuses on whether the officers had any incentive to be untruthful.

        But one thing you can keep in mind when you’re evaluating their testimony, as the
        judge instructed you is their connection to different parties in the case. And here
        you should keep in mind that none of the police officers who testified have any
        connection to the government, none of them work for the federal government, none
        of them got any deals or special treatment, and almost all of them worked at the
        defendant’s agency. Many of them were his friends.

        You know that police officers don’t get any medal if they come into court and
        testify against one of their fellow officers. That’s a hard thing for them to do, so
        you know when those officers took the stand, they had every incentive to try to
        shade their testimony in the defendant’s favor. And the fact that so many of them
        didn’t, that they told you in clear terms that what the defendant did was wrong, that
        officers cannot shoot through covered windows into homes where people live, that
        tells you how outrageous the defendant’s conduct was.


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 [DE 241, Trial Tr. Vol. 11 at 12911]. This quote also does not directly implicate any personal

 opinion of the prosecutor or improperly attempt to support the witness’s credibility. It does seek

 to draw an inference that because these officers were Hankison’s friends and fellow officers [DE

 218, Trial Tr. Vol., 8-B at 12170, ln. 23-72, ln. 12], they had no reason to lie and, may have had

 every incentive to shade their testimony in Hankison’s favor, and yet, they did not. The inference

 being that because they testified unfavorably to Hankison, they were not lying. Again, the

 argument by the United States here is tied both to the evidence (they were friends with Hankison

 and Chief Humphrey’s testimony regarding the unity of law enforcement officers who wear the

 uniform everyday [DE 248, Trial Tr. Vol. 7-A at 13370-71; 13372-73]), as well as to the jury

 instructions, here specifically how to evaluate the credibility of a witness, [DE 228 at 10899-

 10900]. As a result, these statements were not improper vouching because “the prosecutor was

 careful to tie his comments [and inferences] to the evidence that had been introduced,” Wogenstahl,

 2007 WL 2688423, at *71, and directly referenced the jury instructions.

                      4. Whether the prosecutor made improper attacks on Hankison’s
                         credibility based on facts not in the record.

        “It is patently improper for a prosecutor either to comment on the credibility of a witness

 or to express a personal belief that a particular witness is lying.” Acosta, 924 F.3d at 302 (citing

 Hodge, 426 F.3d at 378). To argue to the jury about a witness’s credibility, a prosecutor should

 “highlight inconsistencies with a ‘detailed analysis of the evidence.’” Id. at 303 (citing Hodge, 426

 F.3d at 378). Examples of improper statements include saying a defendant “is lying to extricate

 himself from what he’s done” or a witness “[s]hould [not] be entitled to any credibility

 whatsoever,” when those statements are unaccompanied by analysis of the evidence. Id. at 302-03




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 (quoting Hodges, 426 F.3d at 379) (alteration in original); see also United States v. Christie, 2024

 WL 1998512, at *3 (E.D. Tenn. May 6, 2024).

        “[I]t is improper for attorneys, especially prosecutors who generally have the confidence

 of juries, to misstate evidence[.]” United States v. Hall, 979 F.3d 1107, 1123 (6th Cir. 2020)

 (quoting Carter, 236 F.3d at 785); see also Washington, 228 F.3d at 700 (citing Donnelly v.

 DeChristoforo, 416 U.S. 637, 646 (1974) and noting that a prosecutor’s misrepresentation of

 material evidence can have a significant impact on jury deliberations “because a jury generally has

 confidence that a prosecuting attorney is faithfully observing his obligation as a representative of

 a sovereignty.”); United States v. Solivan, 937 F.2d 1146, 1150 (6th Cir. 1991) (Because jurors are

 likely to “place great confidence in the faithful execution of the obligations of a prosecuting

 attorney, improper insinuations or suggestions [by the prosecutor] are apt to carry [great] weight

 against a defendant” and therefore are more likely to mislead a jury.) Cf. A.B.A., ABA Standards

 for Criminal Justice Prosecution Function and Defense Function 3–5.8(a) (3d ed. 1993) (“The

 prosecutor should not intentionally misstate the evidence or mislead the jury as to the inferences

 it may draw.”).

        Hankison appears to assert (in a heading) that the United States made attacks on his

 credibility that were “not based on evidence or facts before then jury,” then lists ten block quotes

 from the government’s closing. [DE 254 at 13597-99]. Several of these quotes failed to identify

 how the excerpted statements purportedly lacked evidentiary support or would constitute some

 type of flagrant error. Further, the seeming analysis portion after the list of block quotes is

 rambling and touches on numerous factual disputes about the testimony, the questioning of

 witnesses using FBI 302s and testimony from the prior trial, and arguments regarding what the

 defense believes were incorrect or misleading statements. Listing block quotes without any related



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 analysis is simply insufficient to preserve an objection. Seifert, 301 F. App’x at 196-97. That said,

 the Court analyzes each of the individual statements.

        As to the first quote:

        The defendant’s own good friend -- good friend for 18 years, Detective Nobles, told
        you that he would not have fired those shots and he told you that the defendant
        firing through those windows made all police, quote, look like horrible cops and
        criminals.

 [DE 241, Trial Tr. Vol. 11 at 12844]. The defense asserts that this excerpt is

        deeply troubling for several reasons. First, speaking to the criminality of a
        defendant’s conduct is exclusively within the dominion of the jury and inherently
        prejudicial. Second, the statements don’t accurately depict the witness’s testimony
        from the most recent trial, nor the preceding federal trial in 2023.

 [DE 254 at 13600]. As an initial matter, this statement does not attack Hankison’s credibility so

 its unclear what the defense is arguing other than that the statement is somehow misleading. But

 as noted by the United States this excerpt is “[f]ar from being misleading.” [DE 260 at 13765

 (quoting DE 218 at 12179, ln. 5-16) (“Q. You know you’re not supposed to shoot through a

 window that’s covered with closed blinds? A. Yes . . . Q. You wouldn’t have done it? A. I don’t

 think I would have done it. Q. You wouldn’t have fired blindly into a residence because, quote,

 ‘This is not Iraq.’ A. Yeah.”); Id. at 12185, ln. 2-5 (“Q. Not only that, your honest reaction was

 that the defendant shooting through covered windows made the whole team look like horrible cops

 and criminals; right? A. Not just -- not just those actions, but it didn’t look good.”)); see also DE

 218 at 12170-12172].

        Nobles was questioned regarding his federal grand jury testimony which was taken under

 oath. [DE 218 at 12182-83]. He responded to questions confirming his testimony, in agreement,

 although couching the response to the statement about “horrible cops and criminals” by saying he

 didn’t recall it verbatim but if that was the answer “then that’s what I answered.” [Id. at 12183-



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 12185]. However, he felt that statement was in reaction to “[a]ll the surrounding” circumstances,

 not just Hankison’s actions that “made us look like horrible cops and criminals.” [DE 218 at 12185

 ln. 5 (“Not just -- not just those actions, but it didn't look good.”); ln. 9-14 (“All surrounding made

 us look like horrible cops and criminals. Now, if that direct question was asked and that's how I

 answered, then that’s what I answered. But if that was two years ago, that was two years ago. I

 don't remember our conversation verbatim. I’ve had a lot go on since then. So, yes, we looked

 bad.”)]. Nobles’ statement “not just those actions” referring to Hankison’s actions, but “all

 surrounding” appears to encompass both Hankison’s actions and likely a reference to the warrant

 issues which were the subject of other lawsuits. As a result, this was not a specific misstatement.

 Moreover, had Hankison felt the need to address any concerns about this statement they had the

 opportunity on cross examination and in defense closing, but did not. On this record, the Court

 cannot find the prosecutor’s statement to be improper or seriously misleading and did not attach

 “Hankison’s credibility on facts not in evidence.”

        Additionally, the reference here to “criminals” is made in the context of law enforcement

 in general and not to the specific criminality of Hankison. Further, Hankison’s assertion that the

 “criminality of a defendant’s conduct is exclusively within the dominion of the jury and inherently

 prejudicial,” is incorrect as a prosecutor may argue in closing that the evidence proves the

 defendant guilty of the crime charged. See, e.g., United States v. Sherrill, 388 F.3d 535, 538 (6th

 Cir. 2004) (proper for prosecutor to tell the jury in closing “that man is guilty”). The prosecutor

 is “free to argue that the jury should arrive at a particular conclusion based upon the record

 evidence . . .” Caldwell, 181 F.3d at 737, abrogated on other grounds as recognized by Mackey,

 217 F.3d at 406; see also Sherrill, 388 F.3d at 538; Caldwell, 181 F.3d at 737; United States v.

 Reliford, 58 F.3d 247, 250 (6th Cir. 1995) (“A prosecutor in closing argument may review the



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 evidence that has been presented, and may comment on the strength of the Government’s proof . .

 .” as long as it does not improperly vouch for witnesses or suggest guilt based one extraneous

 factors). The prosecution’s statement was made in the context of an extensive trial record. The

 prosecutor’s statement in this first quote is based on evidence in the record, does not mislead, and

 is not improper.

        As to the second quote

        So the defendant claimed that as he ran around to the side of the apartment, he
        thought that he heard the person inside the apartment marching up through that
        hallway through the living room shooting at his officers in the doorway, but even
        if the defendant somehow really thought he did hear that, it’s no defense.

 [DE 241 at 12852]. In regard to this quote, Hankison appears to object to the use of the word

 “marching,” stating that “Defendant has never once testified to discharging his firearm because he

 heard someone marching inside of the apartment as claimed by the prosecutor.” [DE 254 at 13599].

 Hankison argues that in this excerpt “[t]he prosecutor distorted [Defendant’s] testimony in closing

 by stating the defendant claimed to have heard someone marching down the hall.” [Id.]. Instead,

 the motion asserts that the defendant “has consistently maintained that as he rounded the corner of

 the vestibule/entryway of the apartment he thought the shooter was advancing based increased

 sound and loud percussion of the gunfire, as well as the corresponding bright illuminations of the

 sliding glass door from the muzzle flashes.” [DE 222 at 12334]. “Further, he testified that due to

 the visual and auditory stimuli, he believed the shooter was advancing on his fellow officers and

 executing them with an AR-15 in the fatal funnel.” [Id. at 12340].

        But the prosecutor’s statement is not misleading or a mischaracterization of the testimony.

 Whether Hankison used the word “marching” specifically or not in relation to his belief that the

 shooter was advancing down the hall, he did confirm that summary of his testimony on cross

 examination. [DE 240 at 11488-89 (Q: “You said that you knew that your officers were still


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 trapped in the breezeway, you said you knew that the suspect inside was marching up the apartment

 toward the front door. Do you remember saying those things? A. Yes, sir.”)]. The prosecutor is

 not required to recite testimony verbatim in closing arguments. Henry, 545 F.3d at 377 (“[w]e

 afford wide latitude to a prosecutor during closing argument, analyzing disputed comments in the

 context of the trial as a whole . . .”); United States v. Drake, 885 F.2d 323, 324 (6th Cir.1989) (the

 prosecutor is permitted to “summarize the evidence and comment upon both its quantitative and

 qualitative significance.”). Moreover, the jury instructions emphasized that the lawyers’

 statements and arguments are not evidence and did note that “it is also possible for a mistaken

 belief to be reasonable under the facts and circumstances.” [DE 228 at 10895; 10888].

        While Hankison did not make arguments with respect to the third excerpt, the Court finds

 no misleading statements or evidence outside the trial testimony. The prosecutor used evidence in

 the record to call into question Hankison’s recitation of the events. “[H]ighlight[ing]

 inconsistencies with a ‘detailed analysis of the evidence,” is appropriate. Acosta, 924 F.3d at 302.

        Excerpts four through seven all focus on whether Hankison knew his actions were wrong

 and therefore, his actions were willful. [DE 254 at 12598; 13599-600]. Hankison argues that the

 testimony regarding training was not as strong as asserted by the United States and that because

 “the department has never provided a training scenario similar to what Defendant was faced with,”

 there is not sufficient evidence to infer that the “Defendant knew what he did was wrong.” [Id.].

 Because the United States is required to prove willfulness, these issues were proper for discussion

 by the prosecution in closing arguments. [DE 228, Jury Instructions at 10883, 10885, 10891 (“you

 may also consider whether the defendant had been trained, and whether his actions were consistent

 or inconsistent with that training.”)]. Hankison’s arguments here are simply without merit. Just

 because the defense sees the strength of the evidence differently, that does not mean the



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 prosecutor’s statements were improper or misleading. Hankison fails to point to anything that was

 specifically misstated. Arguments about the strength and significance the evidence are fodder for

 closing arguments. Drake, 885 F.2d at 324.

        As to the last two excerpts, relating to whether Hankison knew he would “get away with

 it” because he “never thought his fellow officers would” testify against him. These two quotes

 were not discussed by Hankison except in two footnotes appended to the block quotes. [DE 254 at

 13598, n. 6 & 7]. Hankison states in the first footnote that the United States “quite literally

 manufactured the notions that the Defendant ‘thought he’d get away with it’ and never thought his

 fellow officers would testify against him.” [Id. at 13598, n.6]. The United States asserts that this

 inference is made from the fact that he willfully “broke the law in front of his fellow officers” and

 is a commonsense inference. [DE 260 at 13764]. Because the United States was required to prove

 willfulness and because the inference is based on the testimony regarding what training officers

 received regarding target identification, the inference is relevant and carefully connected to

 testimony.

        Footnote seven is attached to a bold italicized phrase, “they told you that police officers

 cannot take the law into their own hands by firing through covered windows into people’s homes

 no matter what happened before that. [DE 254 at 13598 (emphasis removed)]. It states that “the

 prosecutor yet again misled jurors into believing that LMPD training policies carried relevance

 beyond being [sic] weighting [sic] to the element of willfulness.” [DE 254 at 13598, n.7]. While

 the argument is somewhat unclear, the excerpt specifically references the testimony regarding

 LMPD training and policy provided by several officers and Chief Humphrey. These are facts well

 established in evidence about what LMPD policy requires as to visual identification and the fact

 determination of whether an officer can shoot can change from moment to moment and must be



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 determined at the time the shots are fired. The reference to “no matter what happened before that,”

 is reference to the testimony regarding the shot fired by Walker when the door was breached.

 While it does not specifically address that LMPD policy can only be used to determine willfulness,

 that instruction was clearly given in the jury instructions and the Court must assume those

 instructions were followed. [DE 228, Jury Instructions at 10904; Starnes, 552 F. App’x at 524].

 The Court finds no improper attacks on credibility, misleading, or inferences not based on

 testimony of record.

        The prosecutor is “free to argue that the jury should arrive at a particular conclusion based

 upon the record evidence . . .” Caldwell, 181 F.3d at 737. The prosecution’s statements were made

 in the context of an extensive trial record and, given the wide latitude afforded to closing

 arguments, none of the statements asserted were improper.

                        5. Whether the prosecutor made improper appeals to the jury to act as the
                           community conscience.

        Hankison makes two primary arguments to support his argument that the prosecutor

 improperly and “unfairly appealed to the local and national interests of the jury” during closing

 arguments. [DE 254 at 13602]. First, he argues that the specific statements in closing were tailored

 to appeal to the emotions of the jury. [Id. at 13601-04]. Second, Hankison argues that these

 statements were improper based on the context of the “community interest and the wider social-

 political context in which the guilty verdict was rendered.” [Id. at 13604].

        In Solivan, 937 F.2d at 1150, cited extensively by Hankison, the court recognized that

 because jurors will typically place “great confidence in the faithful execution of the obligations of

 the prosecuting attorney, the prosecutor must observe a high standard of conduct to ensure that the

 defendant’s right to a fair trial is not prejudiced.” United States v. Lawrence, 735 F.3d 385, 432–

 33 (6th Cir. 2013) (summarizing Solivan). Because of this confidence, the Sixth Circuit has


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 emphasized that a prosecutor must avoid “undignified and intemperate” arguments and arguments

 that may contain “improper insinuations and assertions calculated to mislead the jury” by inciting

 passion and prejudice. Id. (citing Solivan, 937 F.2d at 1150). However, “[u]nless calculated to

 incite the passions and prejudices of the jurors, appeals to the jury to act as the community

 conscience are not per se impermissible.” Solivan, 937 F.2d at 1151. Nor is it improper for the

 prosecutor to refer to the community’s overarching need to convict individuals who are guilty of

 criminal activities. Id. at 1154.

         In Solivan, the prosecutor overstepped by petitioning to the jurors’ anxiety and fear

 regarding the nation’s “War on Drugs” with the specific goal of “arous[ing] passion and prejudice”

 and to entreat them “to send a message and strike a blow to the drug problem.” Id. at 1153. The

 Solivan court observed:

         A prosecutor may not urge jurors to convict a criminal defendant in order to protect
         community values, preserve civil order, or deter future law breaking. The evil
         lurking in such prosecutorial appeals is that the defendant will be convicted for
         reasons wholly irrelevant to his own guilt or innocence. Jurors may be persuaded
         by such appeals to believe that, by convicting a defendant, they will assist in the
         solution of some pressing social problem. The amelioration of society’s woes is far
         too heavy a burden for the individual criminal defendant to bear.

 Id. (quoting United States v. Monaghan, 741 F.2d 1434, 1441 (D.C. Cir. 1984)). The Court in

 Hicks v. Collins, 384 F.3d 204 (6th Cir. 2004), distinguished Solivan, finding a prosecutor’s

 statements “it is time you sent a message to the community” and “the people in the community

 have the right to expect that you will do your duty,” permissible. Id. at 219. The Hicks Court found

 these references closer to “the general community need to convict guilty people.” Id.

         With respect to “send a message” arguments, the Sixth Circuit addressed these types of

 arguments in Strickland v. Owens Corning, 142 F.3d 353, 358 (6th Cir. 1998). There, the plaintiff

 referred to the jury as “the voice of the community” and asked them to “tell” the defendants and



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 “the world where you stand” and “your voice will be heard.” Id. The Strickland court concluded

 that such arguments “can have no appeal other than to prejudice” and amount to an “‘improper

 distraction from the jury’s sworn duty to reach a fair, honest and just verdict.” Id.

        Hankison asserts improper statements in a large block quote, consisting of three sections

 of the United States’ closing argument11 and one section of the United States rebuttal argument.

 Much of the quote relates to Chief Humphrey’s testimony regarding a breakdown of trust that the

 community has in law enforcement, dishonoring of law enforcement officers in general, and

 Hankison’s belief that other officers would not testify against him. Several of these issues have

 been previously discussed in other sections.       These excerpts are specifically related to the

 credibility of the testimony from other officers. See e.g. supra at p. 30-31. While the prosecutor

 states that Hankison’s actions were a dishonor to other officers and a disservice to law enforcement

 generally, each statement can be found to have a basis in testimony, either the testimony of Chief

 Humphrey cited supra or other officers who testified about their shock regarding Hankison’s

 actions [DE 212 at 11914, ln. 16-25; DE 207 at 13527, ln. 5-16]. The prosecutor specifically

 references the testimony in the closing argument. So, first and foremost, the statements, and

 inferences that come from these statements, are based on an extensive record. Second, these

 portions of the closing argument specifically go to credibility of witnesses and do not appear to be

 an appeal to the jury to act as the community conscience. Finally, because they summarize

 testimony, it cannot be argued that these statements were “deliberately injected . . . to inflame.”

 Solivan, 937 F.2d at 1153-54. They were already largely in the record. This testimony was already

 heard by the jury. Highlighting this testimony in closings does not somehow then make it

 calculated merely to incite passions and prejudices of the jurors.


 11
    Defense counsel only provides citation for two of the three block quotes from prosecutors closing
 argument, sections one and three. The second section is found at DE 241 at 12860 lines 10-25.

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        Finally, only one of the statements directly makes an appeal for Hankison’s guilt. The third

 quote represents the final three sentences of the prosecutor’s closing argument.

        The evidence proves that the defendant committed that crime. You can recognize
        the courage of those fellow officers who came forward and hold the defendant
        accountable for the crime that he committed. Find him guilty.

 [DE 241 at 12861]. As an initial matter, it is permissible for a prosecutor to argue in closing that

 the evidence proves the defendant guilty of the crime charged, as is the case in this quote. Sherrill,

 388 F.3d at 538; Caldwell, 181 F.3d at 737. The question here is whether through this statement

 the prosecutor is “urge[ing] jurors to convict a [Hankison] in order to protect community values,

 preserve civil order, or deter future law breaking.” Solivan, 937 F.2d at 1153. While the statement

 does ask the jurors to hold Hankison accountable, it is based first on “recogniz[ing] the courage of

 those fellow officers who came forward,” not on some vague idea of the jury being the community

 conscious and solving a social problem. While a somewhat similar plea to the jurors, the Court

 does not find it rises to the level of requesting the jury “to send a message and strike a blow to the

 [] problem.” Id. at 1153. And because the plea to the jury remains rooted in the evidence, the

 prosecutor has not overstepped.

        More concerning to the Court, are Hankison’s alleged attempts to place this case in

 “context.” Hankison asserts that the jury reached its verdict “four days before the presidential

 election.” [DE 254 at 13604]. He asserts that the election cycle emphasized police excessive force

 cases as a major policy agenda and that Ms. Taylor was mentioned in the Democratic National

 Convention by one of its speakers. [Id.]. However, Hankison fails to indicate, other than the mere

 timing of the trial and the election, how any of the comments in the United States’ closing argument

 sought to interject political issues into the jury’s deliberations. The Court finds no connection

 between the prosecutor’s statements in closing arguments and the then political environment. It is



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 not enough that the political and social environment existed close to an election, but the

 prosecution must say or do something to bring it into the trial. The quotes identified by Hankison

 do not bring the social or political environment into the trial, or make it an issue for the jury to

 consider.

        Finally, as the United States noted “[t]he defendant’s argument is particularly outrageous

 because the only reference during trial to the election was . . . from the defense attorney during

 closing argument.” [DE 260 at 13768; DE 241 at 12862-63 (“. . . next week we’re going to have

 something pretty important if you remember, the election, where we have this transition of power

 and it is part of our democracy and it is incredible.”)]. This argument is simply without merit.

        Moreover, Hankison’s argument with respect to the jurors’ “fears” regarding “riots” and

 emotions was extensively discussed and dismissed in the Court’s memorandum opinion and order

 denying Hankison’s motion for leave to conduct post-trial interviews of jurors. [DE 271, Feb. 7,

 2025, Memorandum Opinion and Order]. The Court adopts and incorporates those findings here

 by reference. As a result, Hankison’s community conscious argument must be rejected.

                      6. Whether the prosecutor engaged in improper witness bolstering.

        While “‘[i]mproper vouching occurs when a prosecutor supports the credibility of a witness

 by indicating a personal belief in the witness’s credibility thereby placing the prestige of the office

 of the United States Attorney behind that witness,” Martinez, 253 F.3d at 253–54 (quoting Francis,

 170 F.3d at 550), “‘[b]olstering occurs when the prosecutor implies that the witness’s testimony is

 corroborated by evidence known to the government but not known to the jury.’” Id. at 254 (quoting

 Francis, 170 F.3d at 551); see Trujillo, 376 F.3d at 607–08. The Court in Francis stated that the

 prosecutor “may ask a government agent or other witnesses whether he was able to corroborate

 what he learned in the course of a criminal investigation. However, if the prosecutor pursues this



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 line of questioning, he must also draw out testimony explaining how the information was

 corroborated and where it originated.” Francis, 170 F.3d at 551 (emphasis added). “Thus, if a

 prosecutor asks a government agent whether the agent was able to corroborate information

 provided by an informant, the prosecutor must introduce to the jury how that information was

 corroborated, e.g., via documents or searches.” Martinez, 253 F.3d at 254 (citing Francis, 170 F.3d

 at 551).

         However, where the information is introduced into evidence through other witnesses or

 exhibits or the information is already known to the jury, there can be no bolstering as all the

 information is in the evidentiary record. In United States v. Covington, the Sixth Circuit rejected

 the claim of improper bolstering because the physical evidence referred to by the prosecutor was

 introduced into evidence through other witnesses, ensuring that the jury was aware of the

 corroborative evidence. 7 F. App’x 386, 390 (6th Cir. 2001) (“Bolstering occurs when the

 government implies that the witness’s testimony is corroborated by evidence known to the

 government but not the jury. Covington’s argument fails, however, because although Agent Walls

 did not testify, the physical evidence referred to was introduced into evidence through witnesses

 other than Agent Walls.”). This principle underscores that bolstering requires reliance on evidence

 outside the trial record.

         Hankison identifies the testimonies of three witnesses, Myles Cosgrove, Jason Vance, and

 Matt Russel, which he asserts were bolstered by facts outside the record. In the case of Cosgrove,

 the first quote identifies four pieces of evidence Cosgrove learned after the incident, but again

 Hankison provides no analysis of how these excerpts of testimony are bolstering. [DE 254, at

 13605-06 (citing DE 207 at 13450, ln. 21-13451, ln. 10)]. First, Cosgrove learned the identity of

 the officer firing from the parking lot through the glass door and window, Hankison. Defense



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 asserts that he was not asked how he came to learn the identity of the individual, and thus, the

 excerpt represents improper bolstering. The identity of the officer who was shooting, however,

 was never at issue in the case. The jury heard multiple times throughout the trial that Hankison

 admitted to shooting and he testified to the same. [e.g., DE 222, at 12334-45, DE 240 at 11489].

 It was an undisputed fact and did not lend any credibility to Cosgrove’s testimony regarding how

 shocked he was that someone was shooting from that location.

        Second, Cosgrove learned that Hankison’s shots placed him personally in danger but was

 not asked how he learned that fact. During trial, however, expert witnesses testified and provided

 exhibits diagramming the trajectories of Hankison’s bullets. [DE 211, Trial Tr. Vol. 6-A at 12965,

 12980-98]. The jury was made aware of how those trajectories were calculated by other expert

 witnesses. [Id. at 12965, 12980-98]. And, again, this knowledge did not lend any credibility to

 Cosgrove’s testimony regarding his reactions to the shooting.

        Third, he was asked if he later learned that the first shot fired came from Kenneth Walker’s

 gun but was not asked how he learned that information. Again, experts testified about which

 bullets came from which firearms. [DE 211, Trial Tr. Vol. 6-A at 12965, 12980-98]. This fact of

 the specific identity of Walker was not in dispute and it did not lend any credibility to the testimony

 at issue as to whether Cosgrove perceived a threat.

        Finally, Cosgrove learned how many rounds he discharged, but was not asked how he

 learned that fact. Again, this was information testified to by experts and available to the jury. [DE

 211, Trial Tr. Vol. 6-A]. Moreover, the fact did not lend any credibility to Cosgrove’s testimony

 regarding his reactions to the shooting. None of these excerpts involve bolstering because they all

 rely on facts that were in the record and available to the jury and they do not corroborate the




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 relevant witness’s testimony. In fact, most questions merely fill in well-established details which

 the jury heard about during the trial.

           Similarly, Jason Vance was asked about information he learned later, after the night of the

 incident. And again, the excerpts include no analysis of how they constitute bolstering. Vance

 was a Public Integrity Unit (“PIU”) investigator who was on-scene the night of the incident

 investigating this officer-involved shooting and he was later named the lead investigator on this

 case. [DE 211, Trial Tr. Vol. 6-A at 12941-42]. He testified extensively about how PIU and Crime

 Scene Unit (“CSU”) identify and handle evidence, do interviews, and investigate officer-involved

 shootings. [Id. at 12935-42]. He was asked about his knowledge of the bullet found in the entryway

 of Taylor’s apartment, [DE 254 at 13608 (citing DE 211 at 12987, ln. 6-24)],12 if he learned that

 the bullet in the entryway came from Walker’s gun, the one located on the photographs as marker

 37, [id.]; about whether the shell casings in the parking lot were later matched to a particular

 weapon, that of Hankison, [DE 211 at 12991, ln. 14-12992, ln. 5]; and how many bullets Hankison

 fired through the window and door, [DE 211 at 13009, ln. 16-25]. Defense argues that he was

 never asked how he learned these facts and thus, the questions were improper bolstering. As with

 similar questions posed to Cosgrove, none were contested, all were available to the jury in the

 record, and several were provided to the jury in exhibits. Moreover, as Vance worked on the

 investigation and described at length his role several of the issues dealt directly with parts of the

 investigation he worked on and described in his investigatory process.

           Hankison additionally identifies an excerpt from Vance’s testimony containing two pieces

 on information regarding Walker. [DE 254 at 13606 (citing DE 211 at 12970, ln 1-71, ln. 3)]. The

 first piece of information was whether Walker had an active permit for a concealed weapon.



 12
      These line numbers were cited incorrectly in the original motion.

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 Defense argues that he was never asked how he knew that Walker did have a permit. However,

 Vance appears to confirm how he learned this piece of information when asked if he reviewed

 documents regarding the permit. [DE 211, Trial Tr. Vol. 6-A at 12970, ln. 7-9]. This is in keeping

 with the Sixth Circuit’s instructions in Francis, 170 F.2d at 551. As such, both the information and

 how it was obtained are in the excerpt. It is not bolstering.

         In its argument, however, Hankison appears to assert, not that the excerpt was bolstering

 but misleading, and that the prosecutor should have corrected the impression that Walker was a

 “lawful possessor of a firearm.” [DE 254 at 13607].13 Defendant asserts that

         Kenneth Walker openly admitted to investigators during his interview at the Public
         Integrity Unit to smoking marijuana twice that week, including earlier that evening,
         five times that month, approximately twenty times the month before that, and
         smoking once a day for prolonged periods of time. In light of his open admissions
         which were known to the prosecution, per federal regulations, the notion that
         Kenneth Walker was a lawful possessor of a firearm is patently false.




 13
    In the reply brief, Hankison asserts a new legal argument surrounding whether the United States
 “knowingly and intentionally elicited False, Misleading and/or perjured testimony on multiple occasions.”
 [DE 265 at 13806-09 (capitalization altered)]. Hankison asserts this argument was previously asserted in
 its motion but improperly “captioned under the heading improper bolstering,” yet “it was very clearly
 conveyed that each of the statements. . .were at best ‘profoundly misleading.’” [DE 265 at 13807].
 Arguably, this section broadens Hankison’s arguments related to Vance’s testimony. As a result, Courts in
 the Sixth Circuit have found issues to be waived when they are raised for the first time in in replies to
 responses. Scottsdale Ins. Co. v. Flowers, 513 F.3d 546, 553 (6th Cir. 2008) (citing Am. Fam. Prepaid Legal
 Corp. v. Columbus Bar Assoc., 498 F.3d 328, 335 (6th Cir. 2007)).

         Raising the issue for the first time in a reply brief does not suffice; reply briefs reply to
         arguments made in the response brief—they do not provide the moving party with a new
         opportunity to present yet another issue for the court’s consideration. Further the non-
         moving party ordinarily has no right to respond to the reply brief, at least not until oral
         argument. As a matter of litigation fairness and procedure, then, we must treat [such issues]
         as waived.

 Novosteel SA v. United States, 284 F.3d 1261, 1274 (Fed. Cir. 2002) (finding that plaintiff had failed to
 preserve an issue for review by not presenting it in its principal summary judgment brief and raising it for
 the first time in its reply brief). So, to the extent, the United States did not get an opportunity to respond to
 the new arguments, those arguments are waived.

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 [DE 254 at 13607 (citations omitted)]. The Courts finds these arguments unavailing. The

 questions were “can citizens in Kentucky own handguns for protection” and did Walker have a

 permit. The question was not whether it was legal for Walker to possess the handgun. The

 questions were not improper and certain do not contain “false testimony” as Hankison asserts in

 its reply brief. If the defense thought this was misleading or incomplete, it could have been asked

 on cross-examination as defense counsel had the transcript with Walker’s admissions. But,

 regardless, whether Walker “legally” possessed the firearm has no bearing on Hankison’s guilt or

 innocence in this case or the charges at issue, as such any alleged issue with this excerpt is

 harmless.

        Finally, he was asked whether he found any evidence of drug dealing; but again, Vance

 testified that he was on scene and collected evidence on that evening. He was asked extensively

 about what he found during his collection of evidence. [DE 211, Trial Tr. Vol. 6-A at 12970-71].

 In the lead up to the question about evidence of drug dealing he was asked:

        Q. Did you find any drugs in the apartment?
        A. No.
        Q. Did you find large amounts of money in the apartment?
        A. No, we did not.
        Q. Did you find any drug paraphernalia in the apartment?
        A. No.
        Q. Did you find any scales used to weigh drugs?
        A. No.

 [DE 211, Trial Tr. Vol. 6-A at 12970, ln. 14-21]. He was asked if he found any evidence of drug

 dealing as part of his investigation that evening. He said no. There can be no argument that the

 prosecutor asked how he knew these things because he was asked extensively about what he did

 that evening. This is not bolstering.

        In the limited analysis after this excerpt, Hankison appears to argue that “[t]hese questions.

 . . appeal to various misnomers . . . [and] arouse anti-police sentiment amongst the jurors . . . the


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 questioning and testimony regarding no evidence of any drug dealing being found directly conflicts

 with the contents of the investigative summary Sgt. Vance prepared about this very incident.” [DE

 254 at 13606-07 (providing a copy of the investigative letter at Exhibit 2)]. It appears again that

 Hankison’s argument is that it was misleading, not bolstering, which is also confirmed in his reply

 brief.   [DE 265 at 13807].        But, if Hankison felt this statement was contrary to Vance’s

 Investigative Summary, which the defense was also in possession of, then Hankison had every

 ability to ask on cross-examination. But, because the line of questioning dealt with what Vance

 found that night in the apartment, the Court does not specifically find these answers misleading as

 the information cited by Hankison came from the later review of a forensic examination of

 Walker’s cell phone. [DE 254 at 13607]. Moreover, whether there was evidence of drug dealing

 by any individual in the apartment, does not bear on the actions taken by Hankison before the

 search of the apartment or the charges at issue in this case. While Hankison spends several pages

 on Walker’s alleged drug dealing, this is a red herring and irrelevant to the outcome of the case.14

          The last excerpt is from the testimony of Matt Russel and relates to his knowledge of

 statements made by Walker as to whether he took responsibility for firing at police. [DE 254 at

 13608-09 (citing DE 212 at 11857, ln. 22-58, ln. 10)]. Russel states on the record in response to

 question from the prosecutor that he reviewed Walker’s statements and the video which was played

 for the jury, which is how he would have learned the information contained therein. [DE 212 at

 11857, ln 4-58, ln. 4]. Even more telling he stated this again to defense counsel during cross

 examination and was asked about other statements specifically in the video played to the jury. [DE


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   To the extent Hankison seeks to give the impression to the jury that Walker is a “bad person,” a “drug
 dealer,” to somehow justify Hankison’s decision to shoot, such argument is improper and seeks to persuade
 a non-guilty verdict on improper grounds. Whether Walker fired because he was a drug dealer or because
 he was startled by the banging on the apartment door, it cannot be used to justify Hankison’s actions unless
 he was aware of the facts before serving the warrant and it played into his decision to shoot and there in no
 such evidence. In fact, the testimony is to the contrary.

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 212 at 11852, ln. 23-53, ln. 4]. Russel states how he learned the information he testified to in his

 testimony, and it was available to the jury. Further, defense counsel makes no argument as to why

 this is bolstering, only that it is misleading because “Walker waited at least three hours before

 claiming responsibility for shooting at officers, as opposed to quickly taking responsibility as the

 prosecutor suggested.” [DE 254 at 13609]. But again, the question was whether he took

 responsibility the same night as the shooting, and the answer was “same night.” The statement is

 not misleading. If Defendant felt this was misleading, again counsel had the information and could

 have re-crossed on the issue. Counsel did not. Moreover, as the Court indicated on the record, this

 had minimal relevance to the case as a whole.

            B. Whether any of the Prosecutor’s Impropriety was so Flagrant it Amounts to
               Plain Error

        Because the Court has not found any of the prosecutor’s remarks improper, there is no need

 to analyze whether they were “flagrant,” and amount to plain error warranting a new trial.

 Nonetheless, even if any of the above statements could be construed as improper, the Court could

 not find Hankison has demonstrated flagrancy. First, even if the comments were improper,

 Hankison has not demonstrated that they tended to mislead the jury or prejudice him for the reasons

 already stated above. Second, while Hankison has alleged some of the statements are individually

 misleading, he has failed to show how the misleading nature of the statement relates to a relevant

 finding of the jury on count one. Hankison merely makes sweeping generalized statements without

 any specific connection between how the jury was mislead on any issue material to the ultimate

 outcome of the case. [DE 254 at 13609 (stating only, “[v]irtually all of the questioning, testimony

 and remarks referenced above had the effect of misleading the jury, or outright prejudicing

 Defendant—particularly the litany of improper statements made during closing arguments,” and

 citing to nearly the entire brief); DE 265 at 13805 (noting only that “[m]any of the improper


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 statements/comments mentioned focus specifically on the inappropriateness of Defendant’s

 decision(s) to shoot,” without citation]. For instance, Hankison fails to show how a misleading

 statement by Vance in regard to Walker’s conceal carry permit or whether he was a drug dealer

 would mislead the jury in relation to an element necessary for a guilty verdict on count one.

 Whether Walker “legally” possessed the firearm used to shoot at officers or whether he was a drug

 dealer, would not tend to mislead the jury as to any of the four elements of the crime charged in

 count one. It is also notable that the jury found Hankison not guilty as to count two, which applied

 to Taylor’s neighbors, while count one applied to Taylor. The factual basis and elements of counts

 one and two were otherwise identical. It would be difficult to find the statements mislead the jury

 or prejudice Hankison when the statements applied to count two and the jury found Hankison not

 guilty on count two. Because Hankison fails to establish any prejudice in terms of something that

 would have mislead the jury substantially affecting the outcome, this argument must be rejected.

        Nor has Hankison demonstrated the allegedly improper statements were deliberate. [DE

 265 at 13805 (arguing only “There is no doubt that the improper conduct referenced in this Reply

 and Defendant’s underlying Motion based on the strategic use and timing by the prosecution.

 Passim.”)]. While Hankison alleges deliberateness because many of the statements were made in

 closing argument, that argument is weak given the record in this case. [DE 254 at 13610 (citing

 Bates v. Bell, 402 F.3d 635, 648 (6th Cir. 2005)]. As stated previously, as much of the closing

 argument related specifically to trial testimony, it is difficult to argue that citation to such

 statements is “deliberate” in terms of prejudicing the Defendant. The prosecution’s closing

 argument closely mirrored the themes of the testimony.




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        Finally, Hankison fails to demonstrate that the evidence against him was not strong. Both

 parties extensively address the strength of the evidence. [DE 260 at 13744-55; DE 265 at 13785-

 98]. The United States asserts that

        The jury’s guilty verdict was supported by compelling evidence, including the
        defendant’s own admission that he fired five shots through Breonna Taylor’s
        covered bedroom window despite not being able to see into her apartment, sending
        bullets flying over Ms. Taylor’s head and leaving the defendant’s fellow officers
        ‘shocked’ and in ‘disbelief’ at his ‘totally inappropriate’ conduct. The defendant’s
        blind shots violated the most basic deadly force rules that he had been taught
        repeatedly––rules that were followed by the other officers on scene who forcefully
        condemned his actions during this trial. The testimony of those officers, combined
        with extensive evidence of the defendant’s training, undisputed ballistics evidence
        showing the harrowing path of his bullets, dozens of pictures of the scene, video
        and audio recordings taken moments after the shooting, testimony from experts and
        crime scene investigators, and the defendant’s own admissions proved his guilt
        overwhelmingly.

 [DE 260 at 13743 (citation omitted)]. Defense on the other hand states that there is no strong

 evidence of guilt and that

        [t]he overwhelming majority of evidence described in support of its Response lacks
        full context, is misleading or outright false, was knowingly improperly elicited by
        the prosecutors from witnesses, and further support granting Defendant’s Motion
        due to their misconduct.

 [DE 265 at 13786]. Hankison highlights a lack of training received by defendant [id. at 13786-

 89], Hankison’s testimony that Taylor was suspected of being involved in a criminal syndicate [id.

 at 13789-90], that the officers provided ample time for occupants of the apartment to answer the

 door before breaching [id. at 13790-93], inappropriate inferences regarding Mattingly’s and

 Cosgrove’s actions in the doorway [id. at 13793-95], that Hankison discharged his firearm in

 response to a perceived deadly threat after seeing the shooter in the doorway and almost being shot

 [id. at 13795-97], that “[a]ll three officers who identified or witnesses the shooter returned fire [id.

 at 13797-98], and finally, that other officers’ reactions to the shooting were given with 20/20

 hindsight [id. at 13798].


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        A retelling of the evidence here is unnecessary. The Court cautioned counsel on several

 occasions throughout the trial regarding what this trial was, and was not, about. It was not about

 the veracity of the warrant. The warrant is relevant only in so much as it was the reason Hankison

 was at the apartment. It was not about whether Taylor or Walker or anyone else was involved in a

 “criminal syndicate.” Taylor’s background does not affect her right to be free from unreasonable

 seizures and Taylor’s activities and background are only relevant in so much as what Hankison

 knew about it at the time he served the warrant. It was not about whether SWAT should have

 served the warrant. This case was about whether Hankison’s decision to shoot at the moment he

 shot, from the location he shot, and under the circumstances he perceived, was objectively

 unreasonable “consider[ing] all the facts and circumstances as they would be viewed by an

 ordinary and reasonable officer on the scene at the moment forced was used.” [DE 228, Jury

 Instructions, at 10887].

        The Court turns to the jury instructions to determine if there was strong and ample evidence

 for a finding of guilt. [DE 228].

        For you to find the defendant guilty of the crime charged in Count 1, Deprivation
        of Rights Under Color of Law, you must find that the government has proven each
        of the following four elements beyond a reasonable doubt:

        First: That the defendant acted under color of law. The parties have stipulated that
        the Defendant was acting under color of law on March 13, 2020;

        Second: That the defendant deprived a living victim, Breonna Taylor, of a
        Constitutional right, in this case, the right to be free from unreasonable seizures,
        which includes the right to be free from a police officer’s use of unreasonable force;

        Third: That the defendant acted willfully; and

        Fourth: That the offense involved either (1) the use of a dangerous weapon or (2)
        an attempt to kill.




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 [DE 228 at 10883]. The first element was stipulated. As to the second element, it was not disputed

 that the trajectories of two bullets from two of Hankison’s shots were very close to Taylor’s body,

 [DE 211, Trial Tr. Vol. 6-A at 12985], such that she would have been unable to leave the apartment

 or seek treatment for her wounds. There was strong evidence as to this element.

        As to the third element, based on the testimony of numerous officers regarding basic

 firearms training, it is both logical, and well established by the testimony, that an officer should

 not shoot unless the officer has identified and can see the intended target of his weapon. [DE 215,

 Trial. Tr. Vol. 7-B at 11948-50; DE 248, Trial Tr. Vol. 7-A 1335, 13340-41]. Hearing a firearm or

 seeing a muzzle flash were established not to constitute target identification. [Id.] The same is true

 that an officer should not shoot unless the officer has isolated the intended target. [Id.] And further

 it was well established by the training testimony, as well as the law, that a police officer may use

 deadly force when that force is reasonably necessary to protect himself or someone else from an

 imminent threat of death or serious bodily harm. [DE 228, Jury Instructions at 10887-88]. While

 not definitive of whether the force was unreasonable, the elements of training regarding use of

 deadly force were strongly established. Hankison’s own testimony established that he did not

 follow these elements of his training. He admitted that he had been training on standards about

 target identification but that he fired shots into a covered sliding glass door and covered bedroom

 window. [DE 222, Trial Tr. Vol. 9-B at 12335, 12341; DE 240, Trial Tr. Vol. 10 at 11502-03;

 11522-23, 11568-69, 11574-75]. There was strong evidence as to the third element of willfulness.

        As to the fourth element, there was no dispute that Hankison’s shots were fired with a

 dangerous weapon. [DE 222, Trial Tr. Vol 9-B at 12334-42]. Moreover, there was testimony

 from Hankison that he specifically intended to stop the threat and that he fired until he heard other




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 firing stop confirming to him that the threat was gone. [Id.] As a result, the jury found and there

 was strong evidence that there was an intent to kill. [DE 233].

        In short, even if any of the prosecutor’s statements were improper, Hankison has not shown

 that they “were flagrant enough to warrant reversal.” United States v. Wells, 623 F.3d 332, 337–

 38 (6th Cir. 2010). And, as noted above, because Hankison did not object at trial he would be

 required to prove any misconduct “exceptionally flagrant.” United States v. Phelps, No. 20-5889,

 2021 WL 4315947, at *5 (6th Cir. Sept. 23, 2021). Because he fails to demonstrate flagrancy, he

 cannot demonstrate plain error. Nonetheless, as explained above, Hankison has not shown that

 the prosecution or the Court committed any errors. Thus, Hankison is not entitled to a new trial

 under the plain error standard.

            C. Cumulative Error Theory

        Under cumulative-error analysis, “a defendant must show that the combined effect of

 individually harmless errors was so prejudicial as to render his trial fundamentally unfair.” Trujillo,

 376 F.3d at 614 (where defendant failed to identify any error to combine with an incident of

 harmless error, defendant could not show that he was “denied a fundamentally fair trial”); Christie,

 2024 WL 1998512, at *3–4. “That is so because errors that might not be so prejudicial as to amount

 to a deprivation of due process when considered alone . . . may cumulatively produce a trial setting

 that is fundamentally unfair.” United States v. Warman, 578 F.3d 320, 349 (6th Cir. 2009) (citing

 Trujillo, 376 F.3d at 614). Defendant is not entitled to relief under the cumulative error theory if

 he only identifies a single harmless error. Trujillo, 376 F.3d at 614.

        Further, the cumulative-error analysis authorizes the Court to look only at actual errors, not

 non-errors. United States v. Wheaton, 517 F.3d 350, 372 (6th Cir. 2008) (citing Campbell v. United

 States, 364 F.3d 727, 736 (6th Cir. 2004) (acknowledging that “trial-level errors that would be



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 considered harmless when viewed in isolation of each other might, when considered cumulatively,

 require reversal of a conviction,” but explaining that “the accumulation of non-errors cannot

 collectively amount to a violation of due process” (internal quotation marks omitted)).

        As explained above, Hankison has not shown any errors and even if errors were made, he

 has failed to show that any could be considered flagrant or such seriously affected the fairness or

 integrity of the proceeding. And finally, based on the substantial evidence of guilt, none come

 close to affecting the outcome of Hankison’s trial. Consequently, Hankison is not entitled to relief

 under the cumulative-error theory. United States v. Conley, No. 3:23-CR-14-DJH, 2024 WL

 3609104, at *5 (W.D. Ky. July 31, 2024) (citing United States v. Deitz, 577 F.3d 672, 697 (6th

 Cir. 2009) (“[C]umulative error analysis is not relevant where no individual ruling was

 erroneous.”) and United States v. Buendia, 733 F. App’x 816, 820 (6th Cir. 2018) (“[Defendant’s]

 cumulative-error argument cannot succeed because she has shown no error.”)).

            D. Split-Verdict

        Under either theory put forth by Hankison, it is important to note that the two counts for

 which Hankison was tried were substantially similar in nature and of similar statutory construction.

 [DE 228 at 10883-10893]. Both required consideration of the same witnesses’ testimony and both

 required a finding on four substantially similar elements, the only difference being the specific

 constitutional right at issue based on how the victims were situated--Ms. Taylor in the apartment

 subject to the warrant and the other victims as innocent bystanders in an adjoining apartment. [DE

 228 at 10883-10893; DE 241 at 12839-41 (prosecutor’s description of these differences in

 closing)]. The elements were described by the prosecutor generally as to both counts: “number

 one, that the defendant acted under color of law . . . Number two, that the defendant deprived a

 victim in each count of a right protected by the United States Constitution. Number three, that the



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 defendant acted willfully. And number four, that the offense either included the use of a dangerous

 weapon or involved an attempt to kill.” [DE 241 at 12839]. The prosecutor made the same basic

 argument for guilt both counts.

        So in other words, the evidence you’ve heard during trial proves that Sergeant
        Mattingly and Detective Cosgrove, when they fired immediately through the open
        doorway at a person they could still see who had shot at them, they were justified,
        but the defendant ran around to the side of the apartment later and fired blindly
        through covered windows that he could not see into, he was not justified.

 [DE 241 at 12840-41]. The prosecutor did not make a unique or separate argument as to the

 reasons the jury should find Hankison guilty on count one versus count two. The United States’

 arguments as to both counts were consistent and made simultaneously in closing argument. As a

 result, even if the Court had found any of the prosecutor’s statements improper, the split-verdict

 allays any concerns that the statements, misled the jury, were prejudicial or affected the verdicts.

 If the alleged improper statements prejudiced the defendant or somehow tipped the scale in favor

 of guilt on count two, the same would have been true on count one.

        As set forth in Chaney, 211 F. Supp. 3d at 984, aff'd, 921 F.3d 572, the Sixth Circuit

 specifically considered the effect of a split verdict on general claims of prosecutorial misconduct

 during closings.

        … [T]he jury returned a carefully drawn split verdict on the Chaneys’ 256-count
        indictment, finding the Chaneys guilty of many counts but acquitting them of over
        a hundred others. If this minor, isolated comment about the Chaneys’ house—
        which did not directly pertain to any specific count of the indictment—had
        somehow tainted the jury’s general impression of the Chaneys’ culpability, it is
        curious that the jury nevertheless found them innocent of over a hundred charges.

 Id. (citing United States v. Morales, 655 F.3d 608, 633 (7th Cir. 2011) (“These split verdicts imply

 that the jury reached independent conclusions as to each defendant without making up its mind

 before the close of the evidence.”); United States v. Bradley, 644 F.3d 1213, 1279-80 (11th Cir.

 2011) (holding that evidence the jury “partially acquitted” defendants “provides circumstantial


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 evidence that the jury did indeed ‘consider[ ] the charges individually and assess[ ] the strength of

 the evidence as to each charge.’”) (citations omitted)).

         Other circuits have found similarly, even after a finding of prosecutorial misconduct in

 closing arguments:

         Of course, a split verdict is not unassailable evidence that a jury was unmoved by
         the government’s wrongful remarks, especially when, as here, the government’s
         improper statements addressed issues that were central to the case. Still, the jury’s
         conduct in this case indicates that it “took [the court’s] instruction[s] to heart and
         weighed the evidence, unswayed by whatever passions and prejudices the
         prosecutor[’s] statements might have attempted to stoke.”

 United States v. Khatallah, 41 F.4th 608, 642 (D.C. Cir. 2022)(quoting United States v. McGill,

 815 F.3d 846, 922 (D.C. Cir. 2016)); see also United States v. Small, 74 F.3d 1276, 1284 (D.C.

 Cir. 1996) (citing United States v. Boney, 977 F.2d 624, 631–32 (D.C. Cir. 1992) and finding “[t]he

 split verdict, acquitting Small of the bathroom-drug charge, itself refutes any inference that the

 jury gave undue weight to matters that were not in evidence and failed to follow the instructions.”);

 Ueland v. Fabian, 2009 WL 537615, at *6 (D. Minn. Mar. 3, 2009) (finding that a “split verdict

 resulting from the petitioner’s acquittal on two of three charges strongly suggests that the jury was

 not unduly inflamed by the prosecutor’s comments” in closing argument and that “Petitioner was

 not denied his right to a fair trial as a result of the prosecutor’s final argument.”).

         The Court finds the same is true here. Even if the prosecutor had made improper comments

 during closing or even if the comparative testimony of the officers was improperly admitted as

 suggested by Hankison, the split verdict allays any concerns that the jury was misled or that

 defendant was unfairly prejudiced. Given the jury’s need to consider the same evidence and

 arguments of the prosecutor as to a finding of guilt as to both counts, the split verdict makes clear,

 that neither the comments of the prosecutor, nor the comparative testimony, improperly influenced

 the jury or led them astray of the instructions. It is clear that this jury “took [the court’s]


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 instruction[s] to heart and weighed the evidence, unswayed by whatever passions and prejudices

 the prosecutor[’s] statements might have attempted to stoke.” Khatallah, 41 F.4th at 642.

    III.      CONCLUSION

           For the reasons stated above, and the Court being otherwise sufficiently advised,

 Hankison’s motion for leave to file supplemental authority [DE 269] is GRANTED and his motion

 for new trial [DE 254] is DENIED.




                                             July 18, 2025

 cc: counsel of record




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